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                                                                              /4:.+)/8);/:)5;8:5,:.+
                                                                          :.0;*/)/'2)/8);/:/4'4*,58
                                                                             3/'3/*'*+)5;4:?,258/*'
       (++7(22)
                                                                              )'9+45 
                              6RGOTZOLL

       \

       ;6:/3+.59:/4-22);6:/3+
       '8358?22)(/:/<+22)GTJ
       85(+8:)522'@5

                    *KLKTJGTZY
       EEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEE

                                                            )5362'/4:

                 6RGOTZOLL (++7( 2)) y(++7(z Y[KY *KLKTJGTZY ;6:/3+ .59:/4- 22)

         y;VZOSK.UYZOTMz;VZOSK'XSUX_22) y;VZOSK'XSUX_z(/:/<+22) y(OZO\KzGTJ

        8UHKXZ)URRG`U y)URRG`UzGTJYZGZKY

                                                     4':;8+5,'):/54

                         :NOYGIZOUTOYLUXHXKGINULIUTZXGIZTKMROMKTZGTJLXG[J[RKTZSOYXKVXKYKTZGZOUT

        IUT\KXYOUT[TP[YZKTXOINSKTZGTJJGSGMKY

                         (KKWHOYGIUSVGT_KTMGMKJOTZNKIX_VZUI[XXKTI_SOTOTMOTJ[YZX_

                         *KLKTJGTZY;VZOSK.UYZOTM;VZOSK'XSUX_GTJ(OZO\KGXKGMXU[VULIUSVGTOKY

        ZNGZULLKXIX_VZUSOTOTMLGIOROZOKYGTJGTIORRGX_YKX\OIKYZUIX_VZUSOTOTMI[YZUSKXY

                         *KLKTJGTZ)URRG`UOYZNK)+5UL*KLKTJGTZY;VZOSK.UYZOTM;VZOSK'XSUX_GTJ

        (OZO\K

                         *KLKTJGTZ ;VZOSK .UYZOTM HXKGINKJ ZNK NUYZOTM GMXKKSKTZ ]OZN (KKWH H_ TUZ

        VXU\OJOTMGMXKKJ[VUTYKX\OIKY]NOINNGYIG[YKJGTJIUTZOT[KYZUIG[YKJGSGMKZU(KKWHLXUS

        ZNKRUYYULVXULOZRUYYUL9KX\OIK2K\KR)XKJOZY GYNKXKOTGLZKXJKLOTKJOTVGXGMXGVNRUYYUL



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                                                    '995;2/4+ (+825=+6'
            3OGSO:U]KX{9+TJ9Z9[OZK3OGSO,RUXOJG{:KRKVNUTK {,GIYOSORK 
                                                                                                                     EXHIBIT C
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(KKWHxY XKL[TJGHRK JKVUYOZ GTJ ZNK JKVXKIOGZOUT GTJ JGSGMK ZU OZY IX_VZUI[XXKTI_ SOTOTM

SGINOTKY

                (KKWHTU]HXOTMYZNOYGIZOUTZUUHZGOTRKMGRGTJKW[OZGHRKXKROKLLUX*KLKTJGTZYx

HXKGINULIUTZXGIZTKMROMKTZGTJLXG[J[RKTZSOYXKVXKYKTZGZOUTIUT\KXYOUTGTJ[TP[YZKTXOINSKTZ

                                       0;8/9*/):/54'4*<+4;+

                :NK)U[XZNGYP[XOYJOIZOUTU\KXZNK*KLKTJGTZY[TJKX,RG9ZGZ  G

 GTJ

                <KT[K OY VXUVKX OT 3OGSO*GJK )U[TZ_ [TJKX ,RG 9ZGZ   GTJ 

 HKIG[YKGRR*KLKTJGTZYXKYOJKUXNG\KGVXOTIOVGRVRGIKULH[YOTKYYOT3OGSO*GJK)U[TZ_

                                                      6'8:/+9

                6RGOTZOLL (KKWH OY G ,RUXOJG ROSOZKJ ROGHOROZ_ IUSVGT_ ]OZN OZY VXOTIOVGR VRGIK UL

H[YOTKYYRUIGZKJGZ95IKGT*X.GRRGTJGRK(KGIN,2

               *KLKTJGTZ ;VZOSK .UYZOTM OY G *KRG]GXK ROSOZKJ ROGHOROZ_ IUSVGT_ ]OZN OZY

VXOTIOVGRVRGIKULH[YOTKYYRUIGZKJGZ4='\K9[OZK3KJRK_,2

               *KLKTJGTZ ;VZOSK 'XSUX_ OY G *KRG]GXK ROSOZKJ ROGHOROZ_ IUSVGT_ ]OZN OZY

VXOTIOVGRVRGIKULH[YOTKYYRUIGZKJGZ4=ZN9ZXKKZ3OGSO,2

               *KLKTJGTZ(OZO\KOYG,RUXOJGROSOZKJROGHOROZ_IUSVGT_]OZNOZYVXOTIOVGRVRGIKUL

H[YOTKYYRUIGZKJGZ4=ZN9ZXKKZ3OGSO,2

               *KLKTJGTZ8UHKXZ)URRG`UOYGTOTJO\OJ[GRXKYOJOTMGZ9=9ZXKKZ3OGSO

,2




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   3OGSO:U]KX{9+TJ9Z9[OZK3OGSO,RUXOJG{:KRKVNUTK {,GIYOSORK 
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                                                          ,'):9

/         (KKWHxY([YOTKYY

                  (KKWH]GYLUXSKJOT,RUXOJGOTH_3G^OS+ROYKK\OZYU]TKX

                  (KKWHOYGIZO\KR_OT\UR\KJOTZNKIX_VZUI[XXKTI_SOTOTMOTJ[YZX_]NOIN[ZORO`KY

YVKIOGRO`KJGTJVU]KXL[R(OZIUOTSOTOTMSGINOTKIUSV[ZKXY(KKWHOYXKROGTZUTZNKY[YZGOTKJ[YK

ULSUXKZNGTULOZY'VVROIGZOUT9VKIOLOI/TZKMXGZKJ)OXI[OZ3OTKXSGINOTKY y3GINOTKYz

]NOINOYIXOZOIGRLUXOZYIUTZOT[KJY[IIKYYGYGIUSVGT_

//        (KKWHxY)UTZXGIZ]OZN*KLKTJGTZ;VZOSK.UYZOTM

                  /TZNKY[SSKXUL(KKWHxYXKVXKYKTZGZO\KYOTIR[JOTM+ROYKK\HKIGSKG]GXK

ULZNK(OZO\KMXU[VULIUSVGTOKYVGXZOI[RGXR_*KLKTJGTZY;VZOSK.UYZOTM;VZOSK'XSUX_GTJ

(OZO\K ZUMKZNKXZNKy-XU[Vz

                  *KLKTJGTZ)URRG`UGIZOTMUTHKNGRLULZNK-XU[VXKVXKYKTZKJZNGZZNK-XU[VNGJ

LGIOROZOKYZNGZIU[RJNUYZZNU[YGTJYUL3GINOTKYGTJZNGZZNKOXLGIOROZOKYNGJGIIKYYZUGH[TJGTZGTJ

XKROGHRKKRKIZXOIGRVU]KX'ZZNGZZOSK)URRG`UYZGZKJZNGZZNK-XU[VNGJGTK^ZKTYO\KTKZ]UXQUL

VGXZTKXYGTJIUTZXGIZUXY]OZNU[ZK^VROIOZR_SKTZOUTOTMZNGZZNKXKGXKRGTJRUXJYUTZNKLGIOROZOKYGTJ

ZNGZTU*KLKTJGTZU]TYGT_LGIOROZ_.U]K\KXOTXKGROZ_ZNK-XU[V]GYY[HRKGYOTMZNKYKLGIOROZOKY

ZU(KKWH]OZNU[ZUHZGOTOTMVKXSOYYOUTLXUSZNKRGTJRUXJY

                  :NOYIUTIKGRSKTZVXK\KTZKJ(KKWHLXUSXKIUMTO`OTMZNKVUZKTZOGRXOYQYZNGZIU[RJ

GLLKIZOZYH[YOTKYYUVKXGZOUTYGZZNKYKLGIOROZOKY

                  =NKT(KKWHxYXKVXKYKTZGZO\KYOTIR[JOTM+ROYKK\GYQKJZUXK\OK]GMXKKSKTZY]OZN

ZNK-XU[VxYVGXZTKXY)URRG`UGYY[XKJ(KKWHZNGZGRRGMXKKSKTZY]KXKOTVRGIKGTJZNKVGXZTKXYx

IUTZXGIZY]U[RJTUZIG[YKGT_VXUHRKSYLUX(KKWHxYH[YOTKYY:NOY]GYGLGRYKXKVXKYKTZGZOUT/T

XKGROZ_ZNKIUTZXGIZYHKZ]KKTZNK-XU[VGTJOZYVGXZTKXYIUTZGOTKJIRG[YKYZNGZGRRU]KJZNKRGTJRUXJ




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      3OGSO:U]KX{9+TJ9Z9[OZK3OGSO,RUXOJG{:KRKVNUTK {,GIYOSORK 
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ZUY[YVKTJZNKVU]KXY[VVR_OTIGYKULTUTVG_SKTZGTJ[ZORO`KUXK\KTYKRRZNKKW[OVSKTZUTZNK

VXKSOYKYOTUXJKXZUYKZZRKJKHZYU]KJH_ZNK-XU[V

                (KIG[YK ZNK -XU[V]GY VXU\OJOTM GIIKYYZUZNKLGIOROZOKYZU S[RZOVRK IUSVGTOKY

OTIR[JOTM (KKWH LGOR[XK ZU VG_ LUX VU]KX H_ UTK IUSVGT_ V[Z UZNKXY GZ XOYQ UL RUYOTM VU]KX

Y[VVR_

                )X_VZUI[XXKTI_ SOTOTM UVKXGZOUTY XKW[OXK G IUTZOT[GR Y[VVR_ UL GT KTUXSU[Y

GSU[TZ UL KRKIZXOIOZ_ ZU VXUJ[IK IX_VZUI[XXKTI_ GTJ JKXO\K VXULOZY ;TOTZKXX[VZKJ GIIKYY ZU G

XKROGHRK VU]KX Y[VVR_ OY G IXOZOIGR IUTYOJKXGZOUT LUX SOTOTM IUSVGTOKY ]NKT KTZKXOTM OTZU G

IUTZXGIZ]OZNGIU[TZKXVGXZ_

                (GYKJUTZNKYKGTJUZNKXXKVXKYKTZGZOUTY(KKWHGMXKKJGTJVGOJLUXUTKIUTZGOTKX

LUXZNKUVKXGZOUTULOZY3GINOTKYGTJIUSSKTIKJ]UXQOTM]OZN;VZOSK.UYZOTM/TOZOGRR_;VZOSK

.UYZOTMJOJTUZL[RLORRYUSKULOZYXKYVUTYOHOROZOKYUTZOSK*KYVOZKZNOY;VZOSK.UYZOTMGYY[XKJ

(KKWHZNGZOZ]U[RJYUUTSKKZOZYIUTZXGIZ[GRNUYZOTMIUSSOZSKTZY(KIG[YKULZNKYKGYY[XGTIKY

(KKWHINUYKZUQKKV]UXQOTM]OZNZNK-XU[V

                (KKWHxY GYYKXZOUT ZNGZ ZNK -XU[V NGY OZY U]T LGIOROZOKY ]GY UTK UL ZNK IXOZOIGR

IUTYOJKXGZOUTY VXOUX ZU KTZKXOTM OTZU GT GMXKKSKTZ ]OZN ZNK -XU[V HKIG[YK ]UXQOTM ]OZN GT

OTZKXSKJOGX_Y[INGY;VZOSK.UYZOTMUVKTY(KKWH[VZUYOMTOLOIGTZXOYQYSGT_UL]NOINNG\K

SGZKXOGRO`KJOTZNOYIGYK

                5T5IZUHKX(KKWHGTJ;VZOSK.UYZOTMKTZKXKJOTZUG.UYZOTM'MXKKSKTZ

G IUV_ UL ]NOIN OY GZZGINKJ GY +^NOHOZ ' ;TJKX ZNK .UYZOTM 'MXKKSKTZ (KKWH GTJ ;VZOSK

.UYZOTMNG\KIRKGXR_JKLOTKJXURKYGTJXKYVUTYOHOROZOKY




 )UTZGOTKXYUX6UJYGXKXKW[OXKJLUXYZUXOTMSOTOTMSGINOTKY:NK_GXKZ_VOIGRR_JKYOMTKJ]OZN
OTZKMXGZKJ IUUROTM VU]KX JOYZXOH[ZOUT GTJ TKZ]UXQ OTLXGYZX[IZ[XK ZU UVZOSO`K ZNK SOTOTM
UVKXGZOUTY

                                                             
                                            '995;2/4+ (+825=+6'
    3OGSO:U]KX{9+TJ9Z9[OZK3OGSO,RUXOJG{:KRKVNUTK {,GIYOSORK 
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               'Y VKX ZNK .UYZOTM 'MXKKSKTZ ZNKXK ]KXK Z]U NUYZOTM LGIOROZOKY UTK RUIGZKJ GZ

8UIQKZ9ZXKKZ6X_UX5QRGNUSG y5QRGNUSG,GIOROZ_zGTJZNKUZNKXGZ._GZZ

9ZXKKZ-GLLTK_9U[ZN)GXUROTG y-GLLTK_,GIOROZ_z

               ;TJKXZNKZKXSYULZNK.UYZOTM'MXKKSKTZ(KKWHGMXKKJZUY[VVR_ZNK3GINOTKY

GTJ VG_ GYYUIOGZKJ KRKIZXOIOZ_ GTJ NUYZOTM LKKY /T XKZ[XT ;VZOSK .UYZOTM ]GY ZU VXU\OJK

KRKIZXOIOZ_YVGIKGTJUZNKXYKX\OIKYLUXZNKYK3GINOTKY

               /T5IZUHKXGYVKXZNKIUTZXGIZ(KKWHVGOJ;VZOSK.UYZOTMZNXKKVG_SKTZY

ZU]GXJ(KKWHxYXKL[TJGHRKJKVUYOZOTZNKGSU[TZYUL  GTJ 

 y8KL[TJGHRK *KVUYOZYz =NKT VG_OTM ZNKYK JKVUYOZY (KKWH XKROKJ [VUT )URRG`UxY

XKVXKYKTZGZOUTY ZNGZ ZNK JKVUYOZ ]GY L[RR_ XKL[TJGHRK GTJ IU[RJ HK [YKJ ZU]GXJ (KKWHxY L[Z[XK

VG_SKTZYLUXKRKIZXOIUXUZNKXHORRY

               /T 5IZUHKX  (KKWH VGOJ ;VZOSK .UYZOTM OY  IUTYOYZOTM UL

VG_SKTZY UL    GTJ  LUX LO\K YVKIOLOIGRR_ H[ORZ

IX_VZUSOTOTMIUTZGOTKXYLUXZNK3GINOTKY y)UTZGOTKXYz[TJKXZNK9GRKGTJ6[XINGYK'MXKKSKTZ

JGZKJ5IZUHKX y6[XINGYK'MXKKSKTZz'IUV_ULZNK6[XINGYK'MXKKSKTZOYGZZGINKJ

GY +^NOHOZ ( :NKYK )UTZGOTKXY ]KXK YVKIOLOIGRR_ H[ORZ LUX (KKWHxY 3GINOTKY GTJ ;VZOSK

.UYZOTMxYLGIOROZOKY:NK)UTZGOTKXY]KXKTUZIUSVGZOHRK]OZNGT_UZNKXNUYZOTMVXU\OJKXxYLGIOROZ_

               ;TJKX9KIZOUTULZNK.UYZOTM'MXKKSKTZ(KKWH]GYUHROMGZKJZUJKRO\KXZNK

3GINOTKY VXKIOYKR_ ZU ;VZOSK .UYZOTM (KZ]KKT *KIKSHKX  GTJ 0GT[GX_  (KKWH

Y[VVROKJ;VZOSK.UYZOTM]OZNGVVXU^OSGZKR_ULOZY3GINOTKYGTJSGJKGRRZNKTKIKYYGX_

VG_SKTZYZN[YYGZOYL_OTM(KKWHxYUHROMGZOUTY[TJKXZNK.UYZOTM'MXKKSKTZ




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                                           '995;2/4+ (+825=+6'
   3OGSO:U]KX{9+TJ9Z9[OZK3OGSO,RUXOJG{:KRKVNUTK {,GIYOSORK 
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///    *KLKTJGTZ;VZOSK.UYZOTMxY(XKGINUL)UTZXGIZ

               9ZGXZOTM 4U\KSHKX   ZNK -GLLTK_ ,GIOROZ_ HKMGT ZU K^VKXOKTIK KRKIZXOIGR

OTZKXX[VZOUTYZNGZRGYZKJS[RZOVRKJG_Y/T4U\KSHKXJU]TZOSK]GYJG_YOT*KIKSHKX|

JG_YGTJOT0GT[GX_|JG_Y

               ;VZOSK.UYZOTMXKVXKYKTZKJH_OZY)NOKL)[YZUSKX5LLOIKX'TJXKG9ORKYGYY[XKJ

(KKWHS[RZOVRKZOSKYZNGZZNK-GLLTK_,GIOROZ_IU[RJY[VVUXZZNKY[YZGOTKJUVKXGZOUTUL3GINOTKY

H[ZZNOYJOJTUZUII[X

               'Y YNU]T HKRU] ;VZOSK .UYZOTM [ZZKXR_ LGORKJ ZU VKXLUXS GY VXUSOYKJ OT

IUTTKIZOUT]OZNZNK.UYZOTM'MXKKSKTZH_LGOROTMZUJKRO\KXZNKXKW[OXKJGSU[TZULKRKIZXOIOZ_

LGOROTMZUVXU\OJK9KX\OIK2K\KR)XKJOZYZU(KKWHGTJLGOROTMZUXKZ[XT(KKWHxYXKL[TJGHRKJKVUYOZ

GTJ(KKWHxY3GINOTKYXKY[RZOTMOTY[HYZGTZOGRJGSGMKYZU(KKWH

               ;TJKX 9KIZOUT  UL ZNK .UYZOTM 'MXKKSKTZ *KLKTJGTZ ;VZOSK .UYZOTM ]GY

UHROMGZKJ ZU VXU\OJK (KKWH ]OZN YKX\OIKY LUX ZNKYK 3GINOTKY OTIR[JOTM XKIKO\OTM ZKYZOTM GTJ

UVKXGZOTMZNK3GINOTKYKTMGMOTMOTIX_VZUI[XXKTI_SOTOTMVXU\OJOTMXGIQYVGIKGRRUIGZOUTLUX

ZNK3GINOTKYOTYZGRRGZOUTYKX\OIKYKRKIZXOIGRVU]KXIUTTKIZOUTIUUROTMOTLXGYZX[IZ[XKTKZ]UXQ

IUTTKIZO\OZ_YKI[XOZ_GTJZKINTOIGRY[VVUXZ y9KX\OIKYz

               ;TJKX 9KIZOUT  UL ZNK .UYZOTM 'MXKKSKTZ ;VZOSK .UYZOTM ]GY UHROMGZKJ ZU

VXU\OJK 9KX\OIKY ZU (KKWHxY 3GINOTKY GZ G SOTOS[S UL   UL ZNK ZOSK y3OTOS[S 9KX\OIK

2K\KRz:NKIUTZXGIZ[GRR_GMXKKJ[VUTXKSKJ_LUXLGOR[XKZUSKKZZNK3OTOS[S9KX\OIK2K\KR

]GY LUX (KKWH ZU XKIKO\K G IXKJOZ y9KX\OIK 2K\KR )XKJOZz KW[GR GTJ ROSOZKJ ZU G JOYIU[TZ OT

VXUVUXZOUTZUZNKSUTZNR_XGZKLUXZNKGSU[TZULJU]TZOSKHK_UTJZNK3OTOS[S9KX\OIK2K\KR

               ;VZOSK.UYZOTMSGZKXOGRR_GTJY[HYZGTZOGRR_HXKGINKJ9KIZOUTULZNK.UYZOTM

'MXKKSKTZ;VZOSK.UYZOTMLGORKJZUJKRO\KXZNKZUZGRGSU[TZULVU]KXTKIKYYGX_LUXZNKUVKXGZOUT




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                                                                                                            EXHIBIT C
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ULZNK3GINOTKYGTJZN[YLGORKJZUVKXLUXSGZZNK3OTOS[S9KX\OIK2K\KR;VZOSK.UYZOTMGRYU

LGORKJZUVXU\OJK(KKWH]OZNGT_9KX\OIK2K\KR)XKJOZYJ[KGYVKXZNK.UYZOTM'MXKKSKTZ

               (_0GT[GX_ OT9KX\OIK2K\KR)XKJOZY]KXKU]KJZU(KKWHLUX

ZNKJU]TZOSKGZZNK-GLLTK_,GIOROZ_:NOYOTLUXSGZOUT]GYIUSS[TOIGZKJZU;VZOSK.UYZOTMGTJ

)URRG`UUTZNGZYVKIOLOIJGZKZNXU[MNGTKSGORLXUS(KKWHxYXKVXKYKTZGZO\K

               9OTIK 0GT[GX_   ZNK -GLLTK_ ,GIOROZ_ NGY HKKT ]OZNU[Z VU]KX GTJ ZNOY

XKSGOTYUTMUOTM[VZUZNKVXKYKTZJG_

               5T,KHX[GX_;VZOSK.UYZOTMYKTZOT\UOIK4ULUXKRKIZXOIHORRYLXUS

ZNK5QRGNUSG,GIOROZ_LUX (KKWHXKW[KYZKJ;VZOSK.UYZOTMZU[YK 9KX\OIK2K\KR

)XKJOZYGTJ 8KL[TJGHRK*KVUYOZYZU]GXJVG_SKTZULZNOYHORR:NOYXKW[KYZ]GYXKGYUTGHRKYOTIK

ZNK-GLLTK_,GIOROZ_UVKXGZOUTYNGJYZUVVKJVXU\OJOTMVU]KXVXOUXZUGTJJ[XOTMZNGZZOSK-O\KT

ZNOYIOXI[SYZGTIK(KKWHNGJTURUMOIGRP[YZOLOIGZOUTLUXSGQOTML[XZNKXVG_SKTZYKYVKIOGRR_]NKT

;VZOSK.UYZOTMxYHXKGINULIUTZXGIZ]GYK\OJKTZ3UXKU\KXZNKL[TJYGRXKGJ_VGOJGYJKVUYOZY

IU[RJNG\KXKGJOR_IU\KXKJZNKOT\UOIKGSU[TZ

               ;VZOSK.UYZOTMXKL[YKJZUIU\KXZNKOT\UOIKOTGTKSGORJGZKJ,KHX[GX_

YG_OTMZNGZZNKyJKGRYZX[IZ[XKLUX5QRGNUSG]ORRTUZGRRU]A;VZOSK.UYZOTMCZUGVVR_A9KX\OIK

2K\KR)XKJOZYCGYGIXKJOZZU]GXJYZNGZVU]KXOT\UOIKH[Z]ORRNUTUXOZOT-GLLTK_A,GIOROZ_CGY]K

XKGIZO\GZKz :NOY YZGZKSKTZ ]GY LGRYK :NK .UYZOTM 'MXKKSKTZ GTJ OZY ZKXSY ]KXK HOTJOTM GTJ

IU\KXKJHUZNLGIOROZOKY'JJOZOUTGRR_;VZOSK.UYZOTM]GYTUZGRRU]KJZUINUUYK]NKXK9KX\OIK

2K\KR)XKJOZYIU[RJHKGVVROKJ

               9ZGXZOTM LXUS ,KHX[GX_   ;VZOSK .UYZOTM NGRZKJ ZNK UVKXGZOUT UL ZNK

3GINOTKYYOZ[GZKJOTZNK5QRGNUSG,GIOROZ_HKIG[YK(KKWHNGJTUZVGOJZNKOT\UOIKK\KT]OZNZNK

Y[HYZGTZOGRGSU[TZUL8KL[TJGHRK*KVUYOZYGTJ9KX\OIK2K\KR)XKJOZYU]KJZU(KKWH




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                                                                                                            EXHIBIT C
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               :NKXKLUXK *KLKTJGTZ ;VZOSK .UYZOTM SGZKXOGRR_ GTJ Y[HYZGTZOGRR_ HXKGINKJ ZNK

.UYZOTM'MXKKSKTZH_LGOROTMZUVXU\OJK(KKWH]OZNOZYIUTZXGIZ[GRR_U]KJ9KX\OIK2K\KR)XKJOZY

GTJJKT_OTMYKX\OIKYZUZNK3GINOTKY

               )UTYOJKXOTMGRRS[Z[GRYKZZRKSKTZYGTJXKJ[IZOUTYZNKU[ZYZGTJOTMGSU[TZULZNK

XKL[TJGHRKNUYZOTMJKVUYOZOY  GTJ LUXZNK5QRGNUSGGTJ

-GLLTK_,GIOROZOKYXKYVKIZO\KR_RKYYZNKU[ZYZGTJOTMKRKIZXOIOZ_HORR ZU]NOIN(KKWH

OYKTZOZRKJ

               ;VZOSK .UYZOTM SGZKXOGRR_ GTJ Y[HYZGTZOGRR_ HXKGINKJ ZNOY VGXZ UL ZNK .UYZOTM

'MXKKSKTZ;VZOSK.UYZOTMNGYXKL[YKJZU[VNURJZNOYIUTZXGIZ[GRUHROMGZOUTGTJNGYTUZXKL[TJKJ

(KKWHxYNUYZOTMJKVUYOZ

               ;TJKX 9KIZOUT  UL ZNK .UYZOTM 'MXKKSKTZ ;VZOSK .UYZOTM ]GY UHROMGZKJ ZU

XKZ[XT (KKWHxY 3GINOTKY [VUT (KKWHxY XKW[KYZ (KKWH XKW[KYZKJ ZNK XKZ[XT UL OZY 3GINOTKY

S[RZOVRKZOSKY_KZ;VZOSK.UYZOTMNGYZURJ(KKWHZNGZGIIKYYZUHUZNLGIOROZOKYOYVXUNOHOZKJ

               ;VZOSK.UYZOTMSGZKXOGRR_GTJY[HYZGTZOGRR_HXKGINKJ9KIZOUTULZNK.UYZOTM

'MXKKSKTZ;VZOSK.UYZOTMXKL[YKJ(KKWHxYXKW[KYZZUXKZ[XTOZY3GINOTKYOTHRGZGTZ\OURGZOUTUL

ZNKIUTZXGIZ[GRR_GMXKKJ[VUTXKSKJ_

               'JJOZOUTGRR_KGINJG_ULJU]TZOSKGSU[TZYZU OT9KX\OIK2K\KR)XKJOZY

OTZNK-GLLTK_,GIOROZ_GTJ OTZNK5QRGNUSG,GIOROZ_:N[Y9KX\OIK2K\KR)XKJOZYU]KJ

ZU(KKWHGSU[TZZUSUXKZNGT LUXZNK-GLLTK_,GIOROZ_GTJSUXKZNGT 

LUXZNK5QRGNUSG,GIOROZ_=OZNKGINJG_ULJU]TZOSKZNKYKGSU[TZYIUTZOT[KZUXOYK

/<     (KKWHxY*KSGTJ2KZZKXYGTJ;VZOSK.UYZOTMxY8KVR_

               'LZKX(KKWHXKZGOTKJIU[TYKRZUXKVXKYKTZOZOTZNOYJOYV[ZKOT'VXOR(KKWH

YKTZ;VZOSK.UYZOTMGRKZZKXOTLUXSOTMOZULROGHOROZ_LUXHXKGINULIUTZXGIZ'IUV_ULZNKJKSGTJ

RKZZKXJGZKJ'VXOROYGZZGINKJGY+^NOHOZ)


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                'JJOZOUTGRR_ (KKWH NGY YKTZ JKSGTJ RKZZKXY ZU ZNK 5QRGNUSG GTJ -GLLTK_

 ,GIOROZOKYx RGTJRUXJY :NKYK RKZZKXY XKW[KYZ ZNK XKRKGYK UL ZNK 3GINOTKY GY ;VZOSK .UYZOTM NGJ

 SOYXKVXKYKTZKJZNGZZNKRGTJRUXJYVXUNOHOZKJZNKXKSU\GRUL(KKWHxYRG]L[RR_U]TKJ3GINOTKYGTJ

 )UTZGOTKXYLXUSZNKLGIOROZOKY'IUV_ULZNKJKSGTJRKZZKXYZUHUZNRGTJRUXJYJGZKJ'VXORGTJ

 'VXORGXKGZZGINKJGY+^NOHOZ*

                5T'VXORZNK-GLLTK_(UGXJUL6[HROI=UXQY y(6=zZNKRGTJRUXJUL

 ZNK-GLLTK_,GIOROZ_XKVROKJZUZNKJKSGTJRKZZKXZNGZGRRVXUVKXZ_RUIGZKJGZZNKLGIOROZ_IU[RJTUZ

 HKXKRKGYKJGHYKTZGIU[XZUXJKXYOTIKZNKXKOYVKTJOTMROZOMGZOUTGMGOTYZ(6=OTGT[TXKRGZKJIGYK

 'IUV_ULZNKXKYVUTYKRKZZKXOYGZZGINKJGY+^NOHOZ+:NOY]GYGYOMTOLOIGTZLGIZZNGZ)URRG`UGTJ

 ;VZOSK.UYZOTMNGJTUZVXK\OU[YR_SKTZOUTKJZU(KKWH

                /TZNKXKYVUTYKRKZZKXJGZKJ'VXOR;VZOSK.UYZOTMOTLUXSKJ(KKWHZNGZ

 ZNKXK OY TUGIIKYYZU ZNK -GLLTK_ ,GIOROZ_GTJ ZNK 3GINOTKY UTYOZKJ[KZU ZNK RG]Y[OZ GTJZNGZ

 y;VZOSK.UYZOTMOY]ORROTMZUXKOSH[XYKA(KKWHCLUXZNKNUYZOTMJKVUYOZGYOZXKRGZKYZUZNK-GLLTK_

 YOZKGYYUUTGY;VZOSK.UYZOTMOYGHRKZUXKZ[XTZUZNKYOZKGTJKTMGMKG XKVRGIKSKTZIROKTZz/T

 XKMGXJZUZNK5QRGNUSG ,GIOROZ_ ;VZOSK .UYZOTM OTLUXSKJ(KKWHZNGZOZOY TUZ XKYVUTYOHRKLUX

 VG_OTMZNKKRKIZXOIOZ_HORRGTJOYy]ORROTMZUXKOSH[XYKA(KKWHCLUXZNKNUYZOTMJKVUYOZOT5QRGNUSG

 UTIKOZKTMGMKYGXKVRGIKSKTZIROKTZz;VZOSK.UYZOTMGRYUSKTZOUTKJZNGZZNK-XU[VOYLGIOTM

 VUZKTZOGRHGTQX[VZI_'IUV_ULZNKXKYVUTYKRKZZKXOYGZZGINKJGY+^NOHOZ,

                ;VZOSK .UYZOTM NGY GXM[KJ ZNGZ ZNK HXKGIN UL IUTZXGIZ OY K^I[YKJ J[K ZU LUXIK

 SGPK[XK:NOYGXM[SKTZOY[TLU[TJKJHKIG[YK;VZOSK.UYZOTMxYOTGHOROZ_ZUSGOTZGOTY[LLOIOKTZ

 L[TJYKYVKIOGRR_ OZYLGOR[XK ZU [YK ZNK 8KL[TJGHRK *KVUYOZY ZU IU\KX ZNK LGIOROZ_xY KRKIZXOI HORRY

 JUKYTUZSKKZZNKYZXOTMKTZYZGTJGXJLUXLUXIKSGPK[XK

                :NKXKIGTHKTULUXIKSGPK[XK]NKTGTKTZOZ_INUUYKYGTOTNKXKTZR_XOYQ_YZXGZKM_




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 ZUJKIKO\KOZYI[YZUSKXYGTJIUTZXGIZUXYY[INGYTUZSKTZOUTOTMZURGTJRUXJYZNGZZNKXKGXKS[RZOVRK

 KW[OVSKTZU]TKXYUXTUZSGOTZGOTOTMKTU[MNIGYNZUIU\KXI[XXKTZUHROMGZOUTY,UXIKSGPK[XKOY

 GT[TVXKJOIZGHRKGTJ[TK^VKIZKJIOXI[SYZGTIKZNKVGXZ_IU[RJTUZNG\KLUXKYKKT.KXK;VZOSK

 .UYZOTMxYVUUXJKIOYOUTSGQOTMGTJHGJLGOZNHKNG\OUXJUTUZW[GROL_GYLUXIKSGPK[XK

 <        ;VZOSK.UYZOTMxY3OYXKVXKYKTZGZOUTYGTJ)UT\KXYOUT

                  ;VZOSK.UYZOTMVXU\OJKJ(KKWH]OZNLGRYKOTLUXSGZOUTGHU[ZOZYH[YOTKYYYOZ[GZOUT

 :NOYJKIKVZO\KGIZGOSKJZUIUT\OTIK(KKWHZUKTZKXOTZUGMXKKSKTZY]OZN;VZOSK.UYZOTMGTJ

 ;VZOSK'XSUX_'YGXKY[RZULZNKYKGMXKKSKTZY(KKWHLU[TJOZYKRLOTGYOZ[GZOUTULY[HYZGTZOGR

 XOYQGTJVUZKTZOGRL[Z[XKRUYYKY

                  5T'[M[YZ.GYNVU]KX22) y.GYNVU]KXzZNKRGTJRUXJGTJU]TKXUL

 ZNK5QRGNUSG,GIOROZ_TUZOLOKJ(KKWHZNGZ[TJKXOZYYKZZRKSKTZ]OZN(OZO\K.GYNVU]KXTU]U]TY

 LO\K UL (KKWHxY IUTZGOTKXY (KKWH ]GY TUZ TUZOLOKJ H_ GT_ UL ZNK *KLKTJGTZY ZNGZ OZY RG]L[RR_

 V[XINGYKJVXUVKXZ_]U[RJHKYURJUXUZNKX]OYKJOYVUYKJULGTJ(KKWHTK\KXIUTYKTZKJZUZNOY

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                  'JJOZOUTGRR_UT'[M[YZ.GYNVU]KXxY)+58UHKXZ .KLTKX ZURJ (KKWH

 ZNGZy(OZO\KNGYXKVXKYKTZKJZNGZYUSKIUTZGOTKXY/xSYZORR[TIKXZGOTGYZU]NOINGZA5QRGNUSG

 ,GIOROZ_C]KXKUTR_ZKSVUXGX_(KKWHIUTZGOTKXYGTJZNGZOZNGYTK]IUTZGOTKXYSGT[LGIZ[XKJLUX

 (KKWHRUIGZKJKRYK]NKXK(OZO\KXKVXKYKTZKJZNGZZNKIUTZGOTKXYGZAZNK5QRGNUSG,GIOROZ_CGXK

 ZNKOXVXUVKXZ_GTJZNK_NG\K]GXXGTZKJZNGZZNKOXHORRULYGRKZU.GYNVU]KXOYLOTGRz:NOYIRKGX

 SOYXKVXKYKTZGZOUTIUTZXGJOIZYZNKK^OYZOTMGXXGTMKSKTZYHKZ]KKT(KKWHGTJ;VZOSK'XSUX_

                  :NKXKLUXK*KLKTJGTZYNG\KIUT\KXZKJ(KKWHxY)UTZGOTKXY

                  9OTIK'[M[YZ(KKWHNGYLU[TJGJJOZOUTGROTYZGTIKYUL*KLKTJGTZYxHGJ

 LGOZNHKNG\OUX.GYNVU]KXSKTZOUTKJZU(KKWHZNGZ.GYNVU]KX]GY[YOTM(KKWHxY3GINOTKYZU




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      3OGSO:U]KX{9+TJ9Z9[OZK3OGSO,RUXOJG{:KRKVNUTK {,GIYOSORK 
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 IU\KXJKHZY(OZO\KU]KYZU.GYNVU]KX y.GYNVU]KXGIZKJ[VUTZNKXOMNZYHKYZU]KJ[VUTOZH_

 ZNKHOTJOTMNUYZOTMIUTZXGIZYOMTKJHKZ]KKT.GYNVU]KX GTJ(OZO\KGTJ(OZO\KGIW[OKYIKJZU

 VKXLUXSOTMOTGIIUXJGTIK]OZNZNKIUTZXGIZ:NOYOT\UR\KJ[YOTMZNKKW[OVSKTZZUNKRVOSVXU\KG

 INGRRKTMOTMYOZ[GZOUTZNGZOZLU[TJOZYKRLOTK\KTZNU[MNOZ]GYTxZXKYVUTYOHRKLUXZNKYOZ[GZOUTz

                (KKWHTK\KXGRRU]KJGTJTK\KX]U[RJNG\KGRRU]KJGT_ULZNK*KLKTJGTZYZU[YK

 OZY3GINOTKYZUIU\KXLUXZNKOXU]TLOTGTIOGRSOYZGQKY'ZZNKYGSKZOSK;VZOSK.UYZOTMU]KJ

 YOMTOLOIGTZGSU[TZYULSUTK_ZU(KKWHOT9KX\OIK2K\KR)XKJOZYGTJ8KL[TJGHRK*KVUYOZY

                (KKWHJUKYTUZQTU]]NKTZNKIUT\KXYOUTULZNK3GINOTKYHKMGT:NKV[XINGYK

 VXOIKULZNK3GINOTKYRUIGZKJGZZNK5QRGNUSG,GIOROZ_GSU[TZYZUGVVXU^OSGZKR_ 

 (KIG[YKZNOYKW[OVSKTZ]UXQYIUTYZGTZR_OZYSGT[LGIZ[XKXVXKJOIZKJROLKK^VKIZGTI_OYLO\K_KGXY

 :NKKW[OVSKTZRUYKY UX UL\GR[KLUXGSUXZO`GZOUTV[XVUYKYKGINSUTZN9OTIK

 (OZO\KGRRU]KJ.GYNVU]KXZU[YK(KKWHxY3GINOTKY(OZO\KOYROGHRKLUXZNKGSUXZO`GZOUTGTJ

 KW[OVSKTZJKVXKIOGZOUTIUYZY

                5T'[M[YZ*KLKTJGTZY;VZOSK.UYZOTM;VZOSK'XSUX_GTJ(OZO\K

 ZNXU[MNZNKOXGZZUXTK_YYKTZGRKZZKXZU(KKWHZX_OTMZUV[YNZNKH[XJKTLUXZNK-XU[VxYNGXJYNOV

 UT(KKWHYZGZOTMZNGZy(KKWHUVZKJTUZZUVG_ZNKVU]KXHORRYGZZNK5QRGNUSGYOZKGTJZNGZLGIZ

 IG[YKJ OYY[KY HKZ]KKT ZNK RGTJRUXJ GTJ U[X IROKTZY GY ZNK RGTJRUXJ JKKSKJ ZNKS OT JKLG[RZz

 .U]K\KXGY]GYYZGZKJGHU\KOZ]GYTUZ(KKWHxYLG[RZZNGZ;VZOSK.UYZOTMNGJTUG\GORGHRKIGYN

 ZU[ZORO`K8KL[TJGHRK*KVUYOZYZU]GXJZNKVU]KXHORRY'IUV_ULZNKXKYVUTYKRKZZKXOYGZZGINKJGY

 +^NOHOZ-

                'JJOZOUTGRR_OTZNGZXKYVUTYKRKZZKXZNK-XU[VxYGZZUXTK_YYZGZKJ

                   'ZZNOYP[TIZ[XKZNKRGTJRUXJOYJKSGTJOTM(OZO\K VRGIKL[TJYOTKYIXU]ZU
                   JKZKXSOTK U]TKXYNOV UL ZNXKK IUTZGOTKXY UT OZY YOZK 5[X IROKTZY
                   GIQTU]RKJMKZNGZ(++7(OYKTZOZRKJZUZNXKKIUTZGOTKXYGTJZNK_VXUVUYK
                   VXU\OJOTM (++7( ]OZN Z]U HXGTJ TK] IUTZGOTKXY ZU HK JKRO\KXKJ GZ ZNK



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                   RUIGZOUTUL_U[XIROKTZxYINUUYOTM'YLUXZNKZNOXJUTKIUTZGOTKXOYIUSOTM
                   HGIQGTJU[XIROKTZY]ORRGRYUVXU\OJKZNGZZU(++7(

 :NOYULLKX]GYSGJKZUNOJKZNKIUT\KXYOUTUL(KKWHxYIUTZGOTKXYGTJUHZGOTIUTYKTZLXUS(KKWH

 GLZKXZNKLGIZYOTIKOZOYIRKGXZUGRRVGXZOKYZNGZ(KKWHU]TYZNKIUTZGOTKXYV[XY[GTZZUZNK6[XINGYK

 'MXKKSKTZSKTZOUTKJGHU\K

                (KKWHTU]HXOTMYZNOYGIZOUTZUUHZGOTRKMGRGTJKW[OZGHRKXKROKLLUX*KLKTJGTZYx

 T[SKXU[Y\OURGZOUTYULOZYXOMNZY

                'Y G XKY[RZ UL *KLKTJGTZYx UTMUOTM HXKGIN UL IUTZXGIZ TKMROMKTZ GTJ LXG[J[RKTZ

 SOYXKVXKYKTZGZOUTGTJIUT\KXYOUTZNKLOTGTIOGRXKYU[XIKYUL(KKWHGXKHKOTM]GYZKJKGINJG_

 TKIKYYOZGZOTM[XMKTZXKROKL

                'RR IUTJOZOUTY VXKIKJKTZ ZU ZNOY GIZOUT NG\K UII[XXKJ HKKT YGZOYLOKJ UX NG\K

 UZNKX]OYKHKKT]GO\KJ

                                                )5;4:/
                                           (8+').5,)54:8'):

                6RGOTZOLLXKYZGZKYGTJOTIUXVUXGZKYGRRGRRKMGZOUTYYKZLUXZNOT6GXGMXGVNYZNXU[MN

 GYYKZLUXZNGHU\K

                'YUL5IZUHKX(KKWHNGJG\GROJIUTZXGIZ]OZN;VZOSK.UYZOTM]NKXKH_

 ZNK RGZZKX GMXKKJ ZU VKXLUXS \GXOU[Y YKX\OIKY OT IUTTKIZOUT ]OZN ZNK .UYZOTM 'MXKKSKTZ GY G

 XKGYUTGHR_VX[JKTZYKX\OIKYVXU\OJKX

                'YUL5IZUHKX(KKWHNGJG\GROJIUTZXGIZ]OZN;VZOSK'XSUX_]NKXKH_

 ZNKRGZZKXGMXKKJZUSGQKGTJJKRO\KXI[YZUSSGJK)UTZGOTKXYZUZNKLGIOROZ_UL(KKWHxYINUOIKOT

 K^INGTMKLUXVG_SKTZ

                (KKWHL[RLORRKJOZYUHROMGZOUTY[TJKXHUZNIUTZXGIZY

                ;VZOSK.UYZOTMSGZKXOGRR_HXKGINKJZNK.UYZOTM'MXKKSKTZH_LGOROTMZUVXU\OJK

 ZNK3OTOS[S9KX\OIK2K\KRGTJ9KX\OIK2K\KR)XKJOZY


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    3OGSO:U]KX{9+TJ9Z9[OZK3OGSO,RUXOJG{:KRKVNUTK {,GIYOSORK 
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                ;VZOSK .UYZOTM GRYU SGZKXOGRR_ HXKGINKJ ZNK .UYZOTM 'MXKKSKTZ H_ XKL[YOTM ZU

 XKZ[XT(KKWHxYXKL[TJGHRKJKVUYOZGTJ(KKWHxY3GINOTKY

                (KKWHIU[RJTUZSU\KZUGTUZNKXLGIOROZ_GYOZY3GINOTKYHKIGSKOTGIIKYYOHRKJ[K

 ZU;VZOSK.UYZOTMxYHXKGINULIUTZXGIZ

                (KKWH NGY Y[LLKXKJ GTJ ]ORR IUTZOT[K ZU Y[LLKX JGSGMKY GY G XKY[RZ UL ;VZOSK

 .UYZOTMxYHXKGINULIUTZXGIZOTIR[JOTM 

                   G 2UYYUL(KKWHxY3GINOTKY!

                   H 2UYYULZNKXKL[TJGHRKJKVUYOZ!

                   I 2UYYULY[HYZGTZOGRVXULOZYLXUS(KKWHxY3GINOTKYHKOTMULLROTKJ[KZU

                        *KLKTJGTZYxLGOR[XKZUVXU\OJKKRKIZXOIOZ_ZUZNK3GINOTKY!GTJ

                   J 'RRIUYZYXKRGZKJZUHXOTMOTMY[OZGTJY[INUZNKXJGSGMKYGYZNK)U[XZSG_

                        JKKSP[YZGTJVXUVKX

                'RR JGSGMKY ]KXK LUXKYKKGHRK IUTYKW[KTIKY UL *KLKTJGTZ ;VZOSK .UYZOTMxY

 HXKGINULIUTZXGIZ

         =.+8+,58+6RGOTZOLLJKSGTJYP[JMSKTZGTJVG_SKTZULJGSGMKYOTIR[JOTMH[ZTUZ

 ROSOZKJZUIUTYKW[KTZOGRJGSGMKYGTJRUYZVXULOZYGMGOTYZGTJLXUS*KLKTJGTZ;VZOSK.UYZOTM

 ZUMKZNKX]OZNGZZUXTK_YxLKKYIU[XZIUYZYOTZKXKYZGTJY[INUZNKXXKROKLGYZNOY)U[XZLOTJYP[YZ

 LGOXGTJKW[OZGHRK

                                            )5;4://
                                  4+-2/-+4:3/98+68+9+4:':/54

                6RGOTZOLLXKYZGZKYGTJOTIUXVUXGZKYGRRGRRKMGZOUTYYKZLUXZNOT6GXGMXGVNYZNXU[MN

 GYYKZLUXZNGHU\K

                *KLKTJGTZY)URRG`U(OZO\KGTJ;VZOSK.UYZOTMSOYXKVXKYKTZKJZU(KKWHZNGZZNK

 LGIOROZOKYHKRUTMKJZUZNK-XU[V



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                *KLKTJGTZYQTK]ZNGZZNOY]GYLGRYKGTJZN[YXKL[YKJZUYNU]ZNKOXGMXKKSKTZY]OZN

 RGTJRUXJYULZNKLGIOROZOKYOTGTGZZKSVZZUNOJKZNGZZNKOXXOMNZYUTZNKVXKSOYKY]KXKROSOZKJGTJ

 OTJ[IK(KKWHZUXKR_UTSOYXKVXKYKTZGZOUTYGTJGMXKKZUIUTZXGIZY]OZNZNK-XU[V

                (KKWHXKROKJUTZNKYKSOYXKVXKYKTZGZOUTYGTJKTZKXKJOTZUIUTZXGIZY]OZNZNK-XU[V

 ]NOINXKY[RZKJOTJGSGMKYOTIR[JOTMRUYYULVXULOZYGTJJKVXKIOGZOUT

                (KKWHNGYY[LLKXKJGTJ]ORRIUTZOT[KZUY[LLKXJGSGMKYGYGXKY[RZUL*KLKTJGTZYx

 TKMROMKTZSOYXKVXKYKTZGZOUTYOTIR[JOTM 

                   G 2UYY UL Y[HYZGTZOGR VXULOZY LXUS (KKWHxY 3GINOTKY HKOTM ULLROTK J[K ZU

                        *KLKTJGTZYxLGOR[XKZUVXU\OJKKRKIZXOIOZ_ZUZNK3GINOTKY!

                   H 2UYYULGIIKYYZUZNK3GINOTKYGTJ)UTZGOTKXY!GTJ

                   I 'RRIUYZYXKRGZKJZUHXOTMOTMY[OZGTJY[INUZNKXJGSGMKYGYZNK)U[XZSG_JKKS

                        P[YZGTJVXUVKX

         =.+8+,58+6RGOTZOLLJKSGTJYP[JMSKTZGTJVG_SKTZULJGSGMKYOTIR[JOTMH[ZTUZ

 ROSOZKJZUIUTYKW[KTZOGRJGSGMKYGTJRUYZVXULOZYGMGOTYZGTJLXUS*KLKTJGTZY)URRG`U(OZO\K

 GTJ;VZOSK.UYZOTMZUMKZNKX]OZNIU[XZIUYZYOTZKXKYZGTJY[INUZNKXXKROKLGYZNOY)U[XZLOTJY

 P[YZLGOXGTJKW[OZGHRK

                                          )5;4:///
                                ,8';*;2+4:3/98+68+9+4:':/54

                6RGOTZOLLXKYZGZKYGTJOTIUXVUXGZKYGRRGRRKMGZOUTYYKZLUXZNOT6GXGMXGVNYZNXU[MN

 GYYKZLUXZNGHU\K

                *KLKTJGTZY)URRG`UGTJ;VZOSK.UYZOTMSOYXKVXKYKTZKJZU(KKWHZNGZZNKLGIOROZOKY

 HKRUTMZUZNK-XU[V]NOINOYGSGZKXOGRLGIZYOTIKUTR_ZNKRGTJRUXJIGT]OZNY[LLOIOKTZIKXZGOTZ_

 M[GXGTZKKGTJVXU\OJKGYZGHRKVU]KXY[VVR_KYYKTZOGRLUXSOTOTMUVKXGZOUTY




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                *KLKTJGTZYQTK]ZNGZOZ]GYLGRYKGTJZN[YXKL[YKJZUYNU]ZNKOXGMXKKSKTZY]OZN

 ZNKRGTJRUXJYULZNKLGIOROZOKYZUNOJKZNKLGIZZNGZZNKOXXOMNZYUTZNKVXKSOYKY]KXKROSOZKJGTJZU

 OTJ[IK(KKWHZUXKR_UTSOYXKVXKYKTZGZOUTY

                (KKWH XKROKJ UT ZNKYK SOYXKVXKYKTZGZOUTY GTJ KTZKXKJ OTZU GMXKKSKTZY ]OZN ZNK

 -XU[V]NOINXKY[RZKJOTJGSGMKYOTIR[JOTMRUYYULVXULOZYGTJJKVXKIOGZOUT

                (KKWHNGYY[LLKXKJGTJ]ORRIUTZOT[KZUY[LLKXJGSGMKYGYGXKY[RZUL*KLKTJGTZYx

 LXG[J[RKTZSOYXKVXKYKTZGZOUTYOTIR[JOTM 

                   G 2UYY UL Y[HYZGTZOGR VXULOZY LXUS (KKWHxY 3GINOTKY HKOTM ULLROTK J[K ZU

                        *KLKTJGTZYxLGOR[XKZUVXU\OJKKRKIZXOIOZ_ZUZNK3GINOTKY!

                   H 2UYYULGIIKYYZUZNK3GINOTKYGTJ)UTZGOTKXY!GTJ

                   I 'RRIUYZYXKRGZKJZUHXOTMOTMY[OZGTJY[INUZNKXJGSGMKYGYZNK)U[XZSG_JKKS

                        P[YZGTJVXUVKX

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 ROSOZKJ ZU IUTYKW[KTZOGR JGSGMKY GTJ RUYZ VXULOZY GMGOTYZ GTJ LXUS *KLKTJGTZY )URRG`U GTJ

 ;VZOSK.UYZOTMZUMKZNKX]OZNIU[XZIUYZYOTZKXKYZGTJY[INUZNKXXKROKLGYZNOY      

 LGOXGTJKW[OZGHRK

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                                                   )54<+89/54

                6RGOTZOLLXKYZGZKYGTJOTIUXVUXGZKYGRRGRRKMGZOUTYYKZLUXZNOT6GXGMXGVNYZNXU[MN

 GYYKZLUXZNGHU\K

                (KKWHXKZGOTYU]TKXYNOVU\KXGRRULZNKOTLXGYZX[IZ[XKOZIUTZXOH[ZKJZUZNKLGIOROZOKY

                (_ GRRU]OTM .GYNVU]KX ZU [YK ZNK 3GINOTKY GTJ )UTZGOTKXY ]OZNU[Z (KKWHxY

 IUTYKTZGTJNURJOTMZNKSYKR\KYU[ZGYNG\OTMU]TKXYNOVULZNKKW[OVSKTZ*KLKTJGTZY(OZO\K




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    3OGSO:U]KX{9+TJ9Z9[OZK3OGSO,RUXOJG{:KRKVNUTK {,GIYOSORK 
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 )URRG`U GTJ ;VZOSK .UYZOTM LGIOROZGZKJ ZNK IUT\KXYOUT UL (KKWHxY VXUVKXZ_ OTIR[JOTM ZNK

 3GINOTKYIUTZGOTKXYGTJUZNKXIX_VZUSOTOTMKW[OVSKTZ

                'Y G XKY[RZ UL *KLKTJGTZYx IUTJ[IZ G ZNOXJ VGXZ_ NGY GIIKYY ZU GTJ VUYYKYYKY

 (KKWHxYVXUVKXZ_]OZNU[ZG[ZNUXO`GZOUT

                :N[Y*KLKTJGTZYNG\KOTZKTZOUTGRR_GTJ]OZNU[ZG[ZNUXOZ_GYY[SKJGTJK^KXIOYKJ

 IUTZXURU\KX(KKWHxYVXUVKXZ_OTZKXLKXOTM]OZN(KKWHxYXOMNZULVUYYKYYOUTGTJ(KKWHxYU]TKXYNOV

 XOMNZY

                'YGJOXKIZXKY[RZUL*KLKTJGTZYxGIZOUTY(KKWHNGYY[LLKXKJGTJIUTZOT[KYZUY[LLKX

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          =.+8+,58+6RGOTZOLLJKSGTJYP[JMSKTZGTJVG_SKTZULJGSGMKYOTIR[JOTMH[ZTUZ

 ROSOZKJZURUYYVXULOZYGTJIUTYKW[KTZOGRJGSGMKYGMGOTYZGTJLXUS*KLKTJGTZY(OZO\K)URRG`U

 GTJ;VZOSK.UYZOTMZUMKZNKX]OZNIU[XZIUYZYOTZKXKYZGTJY[INUZNKXXKROKLGYZNOY)U[XZLOTJY

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                                            ;40;9:+48/).3+4:

                6RGOTZOLLXKYZGZKYGTJOTIUXVUXGZKYGRRGRRKMGZOUTYYKZLUXZNOT6GXGMXGVNYZNXU[MN

 GYYKZLUXZNGHU\K

                *KLKTJGTZYNG\KIUTZOT[KJ[TRG]L[RR_ZU[YK(KKWHxY3GINOTKYGTJ)UTZGOTKXY

 ZUSOTKIX_VZUI[XXKTI_K\KTZNU[MN(KKWHJOJTUZIUTYKTZZUY[IN[YK*KLKTJGTZYNG\KHKKT

 KTXOINKJ H_ ZNKOX IUTZOT[KJ [TRG]L[R [YK UL ZNK 3GINOTKY GTJ )UTZGOTKXY OT ZNK LUXS UL

 IX_VZUI[XXKTI_SOTOTMOTIUSK;TJKXZNKIOXI[SYZGTIKYOZ]U[RJHK[TP[YZZUGRRU]*KLKTJGTZY

 ZUXKZGOTYGOJVXUIKKJYHKIG[YKZNK_XKGRO`KJZNKOTIUSKUTR_ZNXU[MNZNK[TP[YZK^VRUOZGZOUTUL

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         92.       Therefore, Defendants have unjustly enriched themselves by their continued,

 unlawful use of Beeqb’s equipment.

         WHEREFORE, Plaintiff demands judgment and payment of damages, including but not

 limited to loss profits and consequential damages, against and from Defendants together with court

 costs, interest, and such other relief as this Court finds just, fair, and equitable.

 Date:     September 12, 2023                             Respectfully submitted,

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                                                          Attorneys for Plaintiff, BEEQB LLC
                                                          Pro Hac Vice Motion forthcoming




                                                            17
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                                        */34+.)!#)2''-'.4!

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 _SVW! Tk! S`V! TWfiWW`! Kbf[_W! @aef[`Y! BB;! %p@aefq&'! S! >^ad[VS! ^[_[fWV! ^[ST[^[fk! Ua_bS`k! i[fZ! [fe!
 bd[`U[bS^! b^SUW!aX!Tge[`Wee!^aUSfWV!Sf!,-.+,!DM!,,-!8hW!Ig[fW! ,,-'!CWV^Wk'! >B!..,23!S`V!9==G9!
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 I!EUWS`!<d'!@S^^S`VS^W!9WSUZ'!>B'!..++4!%Ua^^WUf[hW^k!pFSdf[Weq6![`V[h[VgS^^k!pFSdfkq&)!

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 eWdh[UWe6!

 6*'2'#3"!;^[W`f!W`YSYWe![`!fZW!Tge[`Wee!aX!UdkbfaUgddW`Uk!_[`[`Y6!

 6*'2'#3"! @aef! eWW]e! fa! bdah[VW! UWdfS[`! UdkbfaUgddW`Uk! _[`[`Y! S`V! Zaef[`Y! eWdh[UWe! fa! ;^[W`f! [`!
 WjUZS`YW!Xad!Wcg[fST^W!Ua_bW`eSf[a`6!S`V!

 6*'2'#3"!;^[W`f!eWW]e!fa!gf[^[lW!UWdfS[`!UdkbfaUgddW`Uk!_[`[`Y!S`V!Zaef[`Y!eWdh[UWe!aX!@aef6!

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 hS^gST^W! Ua`e[VWdSf[a`'! fZW! dWUW[bf! S`V! egXX[U[W`Uk! aX! iZ[UZ! SdW! ZWdWTk! SU]`ai^WVYWV'! fZW! FSdf[We!
 ZWdWfa'!WSUZ![`fW`V[`Y!fa!TW!^WYS^^k!Tag`V!ZWdWTk'!SYdWW!fa!fZW!bdah[e[a`e!aX!fZ[e!8YdWW_W`f!Se!Xa^^aie5!


                                                 #?I==D=EK!


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               ^[efWV![`!'N@A9AK!#!SffSUZWV!ZWdWfa!%fZW!p%CA=EK!'HLAGD=EKq&!fa!@aef)!@aef!eZS^^!
               dWUW[hW! S`V! fWef! fZW! ;^[W`f! =cg[b_W`f'! W`YSYW! [`! UdkbfaUgddW`Uk! _[`[`Y! S`V!
               abWdSf[a`! aX! fZW! ;^[W`f! =cg[b_W`f'! bdah[VW! dSU]! ebSUW! S^^aUSf[a`! Xad! fZW! ;^[W`f!
               =cg[b_W`f! %p%CA=EK! 3G8;=q&'! [`efS^^Sf[a`! eWdh[UWe'! W^WUfd[US^! baiWd! Ua``WUf[a`'!
               Uaa^[`Y! [`XdSefdgUfgdW'! `Wfiad]! Ua``WUf[h[fk'! eWUgd[fk'! S`V! fWUZ`[US^! egbbadf'! Se!
               agf^[`WV![`!fZ[e!8YdWW_W`f!%Ua^^WUf[hW^k'!fZW!p3=IMA;=Jq&'!Xad!fZW!JWd_)!!

       ,)-)    +GKL! &GFL8AF=JK)! @aef! _Sk! geW! _aV[X[WV! baVe! VWe[Y`WV! ad! bdaUgdWV! Tk! @aef!
               %p*FJK!%FEK8AE=Iq&!Xad!bgdbaeWe!aX!bdah[V[`Y!IWdh[UWe!Xad!fZW!;^[W`f)!@aef!_Sk!
               fdS`eXWd!fZW!;^[W`f!=cg[b_W`f!fa!@aef!;a`fS[`Wde)!A`!fZW!WhW`f!;^[W`f!=cg[b_W`f!
               [e!VW^[hWdWV!WSd^[Wd!fZS`!fZW!VSfW!a`!iZ[UZ!UWdfS[`!@aef!;a`fS[`Wde!_Sk!TW!VWW_WV!



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        dWSVk!Xad!Zaef[`Y!Tk!fZW!@aef'!@aef!_Sk!X[`V!afZWd!XSU[^[f[We!fa!Zaef!egUZ!;^[W`f!
        =cg[b_W`f!TWXadW!fZW!dW^WhS`f!@aef!;a`fS[`Wde!SdW!VWW_WV!dWSVk!Xad!Zaef[`Y!Tk!
        fZW!@aef)!Dafi[fZefS`V[`Y!S`k!Ua`fdSV[Ufadk!fWd_e![`!fZ[e!8YdWW_W`f'!@aef!eZS^^!
        `af! TW! ^[ST^W! Xad! S`k! VW^Ske! [`! bdah[V[`Y! fZW! @aef! ;a`fS[`Wde'! S`V! fZW! @aef!
        ;a`fS[`Wde! eZS^^! dW_S[`! fZW! bdabWdfk! aX! @aef! Sf! S^^! f[_We)! @aef! _Sk! _ahW! fZW!
        ;^[W`f! =cg[b_W`f! fa! afZWd! bdabWdf[We! i[fZagf! fZW!bd[ad! id[ffW`! Ua`eW`f! aX! ;^[W`f!
        gba`! id[ffW`! `af[UW! fa! ;^[W`f)! DafZ[`Y! [`! fZ[e! IgTeWUf[a`! eZS^^! TW! Ua`efdgWV! fa!
        bdah[VW!;^[W`f!S`k!ai`WdeZ[b![`fWdWef![`!S`k!@aef!;a`fS[`Wd%e&)!

 ,).)   &DA=FL! &GFL8AF=JK)! @aef! _Sk! geW! baVe! bdah[VWV! Tk! fZW! ;^[W`f! %p%CA=EK!
        %FEK8AE=Iq&!Xad!bgdbaeWe!aX!bdah[V[`Y!IWdh[UWe!Xad!fZW!;^[W`f6!HJGNA<=<"!@GO=N=J'!
        fZSf! S^^! ;^[W`f! ;a`fS[`Wde! _gef! TW! SbbdahWV! [`! id[f[`Y! Tk! fZW! @aef! bd[ad! fa!
        VW^[hWdk!Tk!;^[W`f)!A`!fZW!WhW`f!;^[W`f!=cg[b_W`f![e!VW^[hWdWV!WSd^[Wd!fZS`!fZW!VSfW!
        a`!iZ[UZ!UWdfS[`!;^[W`f!;a`fS[`Wde!_Sk!TW!VWW_WV!dWSVk!Xad!Zaef[`Y!Tk!fZW!@aef'!
        @aef!_Sk!X[`V!afZWd!XSU[^[f[We'!baVe'!ad!Ua`fS[`Wde!fa!Zaef!egUZ!;^[W`f!=cg[b_W`f!
        TWXadW!fZW! dW^WhS`f! ;^[W`f!;a`fS[`Wde!SdW!VWW_WV! dWSVk! Xad!Zaef[`Y! Tk!fZW!@aef)!
        Dafi[fZefS`V[`Y!S`k!Ua`fdSV[Ufadk!fWd_e![`!fZ[e!8YdWW_W`f'!;^[W`f!eZS^^!TW!ea^W^k!
        ^[ST^W! Xad! S^^! eZ[bb[`Y! SddS`YW_W`fe! Xad! fZW! ;^[W`f! ;a`fS[`Wde'! S`V! fZW! @aef!
        ;a`fS[`Wde! eZS^^! dW_S[`! fZW! bdabWdfk! aX! ;^[W`f! Sf! S^^! f[_We)! @aef! _Sk! _ahW! fZW!
        ;^[W`f!;a`fS[`Wde'![`U^gV[`Y!S`k!;^[W`f!=cg[b_W`f'!fa!afZWd!bdabWdf[We!i[fZagf!fZW!
        bd[ad!id[ffW`!Ua`eW`f!aX!;^[W`f!gba`!id[ffW`!`af[UW!fa!;^[W`f)!

 ,)/)   ,FKL8DD8LAGF! 8F<! 5=KLAF?)! Kba`! dWUW[bf! aX! ;^[W`f! =cg[b_W`f'! @aef! eZS^^! bWdXad_!
        Ua__WdU[S^^k! dWSea`ST^W! fWef[`Y! [`! SUUadVS`UW! i[fZ! @aefse! Wcg[b_W`f! fWef[`Y!
        bdaUWVgdWe! S`V! `af[Xk! ;^[W`f! aX! S`k! _S^Xg`Uf[a`[`Y! ;^[W`f! =cg[b_W`f! i[fZ[`!
        fZ[dfk! %.+&! Tge[`Wee! VSke)! @aef! eZS^^! [`efS^^! S^^! bdabWd^k! Xg`Uf[a`[`Y! ;^[W`f!
        =cg[b_W`f! [`! fZW! ;^[W`f! IbSUW! i[fZ[`! fZ[dfk! %.+&! Tge[`Wee! VSke! aX! fWef[`Y! egUZ!
        ;^[W`f! =cg[b_W`f)! @aef! eZS^^! `af! TW! ^[ST^W! Xad! S`k! VWXWUfe! ad! _S^Xg`Uf[a`e! [`!
        ;^[W`f!=cg[b_W`f!ad!Xad!XS[^[`Y!fa![VW`f[Xk!S`k!Z[VVW`!VWXWUfe!Vgd[`Y![`efS^^Sf[a`!
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        ;a__W`UW_W`f!<SfW!iZ[UZ!eZS^^!TW!W[fZWd!aX5!

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               dWSVk! fa! dWUW[hW! fZW! ;^[W`f! =cg[b_W`f! 8F<! dWUW[hWe! egUZ! ;^[W`f!
               =cg[b_W`f6!ad!!

        ,)0)-) 8! VSfW! SYdWWV! fa! Tk! fZW! FSdf[We! [`! id[f[`Y! Se! efSfWV! [`! =jZ[T[f!86!
               HJGNA<=<"! @GO=N=J'! fZSf! @aef! _Sk! WjfW`V! fZW! SYdWWV(gba`!
               ;a__W`UW_W`f!<SfW!Tk!gb!fa!e[j!%1&!US^W`VSd!_a`fZe)!



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         A`! S`k! WhW`f'! @aef! eZS^^! bdah[VW! ;^[W`f! id[ffW`! `af[UW! fZSf! fZW! bdah[e[a`! aX!
         IWdh[UWe! ZSe! Ua__W`UWV! `a! ^SfWd! fZS`! eWhW`! %2&! Tge[`Wee! VSke! Xa^^ai[`Y! egUZ!
         Ua__W`UW_W`f)!!

 ,)1)   /8AFL=F8F;=)! @aef! eZS^^! bWdXad_! egUZ! _S[`fW`S`UW! SUf[a`e! Se! @aef! VWW_e!
        `WUWeeSdk!ad!VWe[dST^W!i[fZ!dWebWUf!fa!fZW!Tg[^V[`Ye!S`V!XSU[^[f[We!ai`WV!ad!^WSeWV!
        Tk! @aef! [`! iZ[UZ! fZW! ;^[W`f! IbSUW! [e! ^aUSfWV! %p&8K8! %=EK=Iq&! S`V! _S[`fS[`!
        @aefse! `Wfiad]! %p-8AEK=E8E;=q&)! ;^[W`f! SU]`ai^WVYWe! S`V! SYdWWe! fZSf! fZW!
        bWdXad_S`UW! aX! CS[`fW`S`UW! _Sk! USgeW! fZW! `Wfiad]! fa! TW! fW_badSd[^k!
        [`SUUWee[T^W!S`V!fZW!IWdh[UWe!g`ShS[^ST^W!fa!;^[W`f)!@aef!eZS^^!geW!Ua__WdU[S^^k!
        dWSea`ST^W! WXXadfe! fa! Ua`VgUf! egUZ! CS[`fW`S`UW! [`! S! _S``Wd! ea! Se! fa! Sha[V! ad!
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        b^S``WV! ad! WjbWUfWV! fa! [`fWddgbf! fZW! ShS[^ST[^[fk! aX! IWdh[UWe'! @aef! eZS^^! bdah[VW!
        ;^[W`f! `af[UW! Xadfk(W[YZf! %/3&! Zagde! bd[ad! fa! Ua`VgUf[`Y! egUZ! _S[`fW`S`UW! h[S!
        W_S[^'! [VW`f[Xk[`Y! fZW! f[_W! S`V! S`f[U[bSfWV! VgdSf[a`! aX! fZW! CS[`fW`S`UW)!
        Dafi[fZefS`V[`Y! fZW! XadWYa[`Y'! @aef! _Sk! Ua`VgUf! W_WdYW`Uk! CS[`fW`S`UW!
        i[fZagf! bd[ad!`af[UW!fa!;^[W`f6!HJGNA<=<"!@GO=N=J'!fZSf! @aef! eZS^^!bdah[VW! ;^[W`f!
        `af[UW! Vgd[`Y! ad! SXfWd! egUZ! W_WdYW`Uk! CS[`fW`S`UW! i[fZ[`! S! dWSea`ST^W! f[_W)!
        @aef! eZS^^! fS]W! Ua__WdU[S^^k! dWSea`ST^W! WXXadfe! fa! W`egdW! fZSf! fZW! CS[`fW`S`UW!
        XdWcgW`Uk! eZS^^! `af! WjUWWV! fZdWW! %.&! aUUgddW`UWe! %WjU^gV[`Y! W_WdYW`Uk!
        CS[`fW`S`UW&! WSUZ! US^W`VSd! _a`fZ! S`V! eZS^^! `af! WjUWWV! W[YZf! %3&! Zagde! bWd!
        aUUgddW`UW)!!!

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        %.&!Tge[`Wee!VSke'!Ua`fSUf!;^[W`f![X!S`k!;^[W`f!=cg[b_W`f![e!`af!Xg^^k!abWdSf[a`S^)!
        8f! ;^[W`fse! dWcgWef'! @aef! eZS^^! bWdXad_! V[SY`aef[U! S`V! dWbS[d! iad]! %p2=G8AI!
        6FIBq&! a`! egUZ! ;^[W`f! =cg[b_W`f)! @aef! eZS^^! TW! fZW! WjU^ge[hW! ad! fab! bd[ad[fk!
        bdah[VWd!aX!HWbS[d!Mad])! HWbS[d!Mad]! eZS^^!TW!T[^^WV![`! Zagd^k![`UdW_W`fe'! S`V!
        T[^^ST^W!eWdh[UWe!Xad!egUZ!HWbS[d!Mad]!eZS^^![`U^gVW!S^^!f[_W!WjbW`VWV!fa!V[SY`aeW!
        bdaT^W_e'! Ua__g`[USfW! S`V! dWUW[hW! ;^[W`f! [`efdgUf[a`e'! bWdXad_! dWbS[de'! S`V!
        dWbadf! dWeg^fe)! HWbS[d! Mad]! eZS^^! TW! T[^^WV! Sf! fZW! dSfW! aX! X[Xfk! Va^^Sde! bWd! Zagd!
        %"0+)++*Zd&'! WjU^gV[`Y! fZW! Uaef! aX! S`k! _SfWd[S^e! ad! Wcg[b_W`f! egbb^[WV! ad!
        bgdUZSeWV!Tk!@aef6!HJGNA<=<"!@GO=N=J'!fZSf!@aef!eZS^^!bdah[VW!S!cgafW!fa!;^[W`f![`!
        SVhS`UW!S`V!aTfS[`! fZW! id[ffW`! Ua`eW`f! aX! ;^[W`f!bd[ad!fa! fZW! Ua__W`UW_W`f! aX!
        S`k! HWbS[d!Mad])!Dafi[fZefS`V[`Y! fZW!XadWYa[`Y'! egUZ!cgafWe! bdah[VWV!Tk! @aef!
        _Sk!TW!egT\WUf!fa!UZS`YW)!JZW!dWeba`eW!f[_W!Xad!HWbS[d!Mad]!eZS^^!TW!TSeWV!gba`!
        fZW! ShS[^ST[^[fk! aX! dWeagdUWe! Sf! fZW! f[_W! aX! ;^[W`fse! dWcgWef)! IgT\WUf! fa! fZW!
        SXadW_W`f[a`WV! `af[X[USf[a`! S`V! Ua`eW`f! dWcg[dW_W`f'! ;^[W`f! ZWdWTk! SgfZad[lWe!
        @aef! fa! abW`! S`V! _aV[Xk! ;^[W`f! =cg[b_W`f! Xad! HWbS[d! Mad]! S`V! SU]`ai^WVYWe!
        fZSf!egUZ!dWcgWefe!_Sk!ha[V!fZW!iSddS`fk!aX!fZW!SXXWUfWV!;^[W`f!=cg[b_W`f)!8`k!
        ZSdViSdW! dWb^SUW_W`f! VWfWd_[`WV! `WUWeeSdk! Tk! @aef! eZS^^! TW! Se! SYdWWV! Tk! fZW!
        FSdf[We!bd[ad!fa!_S][`Y!SVV[f[a`S^!bgdUZSeWe)!!


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      ,)3)   /AFAEME! 4=JNA;=! .=N=D)! =jUWbf! [`! fZW! WhW`f! aX! CS[`fW`S`UW'! ;^[W`f! =cg[b_W`f!
             XS[^gdW'! HWbS[d! Mad]'! S`V! >GJ;=! E8B=MJ='! WSUZ! _a`fZ'! @aef! eZS^^! bdah[VW! fZW!
             IWdh[UWe!fa!;^[W`f!`[`Wfk!bWdUW`f!%4+#&!aX!fZW!f[_W!%p-AEADLD!3=IMA;=!,=M=Cq&)!
             A`! fZW! WhW`f! IWdh[UWe! SdW! `af! bdah[VWV! Sf! fZW! C[`[_g_! IWdh[UW! BWhW^! Xad! ahWd!
             eWhW`fk(fia! %2-&! Zagde'! ;^[W`f! eZS^^! dWUW[hW! S! UdWV[f! WcgS^! S`V! ^[_[fWV! fa! S!
             V[eUag`f![`!bdabadf[a`!fa!fZW!_a`fZ^k!dSfW!Xad!fZW!S_ag`f!aX!Vai`f[_W!TWka`V!fZW!
             C[`[_g_!IWdh[UW!BWhW^!%p3=IMA;=!,=M=C!%I=<AKq&)!JZW!IWdh[UW!BWhW^!;dWV[f!eZS^^!
             TW! Sbb^[WV! [`! WcgS^! [`efS^^_W`fe! ahWd! fZW! ;^[W`fse! Xa^^ai[`Y! fia! %-&! US^W`VSd!
             _a`fZ^k! bSk_W`fe)! A`! fZW! X[`S^! fia! %-&! US^W`VSd! _a`fZe! aX! fZW! fWd_! @aef! eZS^^!
             Xg^^k!dWXg`V!S`k!IWdh[UW!BWhW^!;dWV[f)!!

      ,)4)   4=JNA;=!)8ADMJ=K)!;^[W`f!SUUWbfe!fZSf!IWdh[UWe!_Sk!`af!TW!g`[`fWddgbfWV'!Wddad(XdWW'!
             ad!a`!S!Ua_b^WfW^k!eWUgdW!TSe[e)!@aef!eZS^^!ZShW!`a!aT^[YSf[a`!fa!UdWV[f!;^[W`f!S`k!
             S_ag`f! Xad! S`k! egUZ! XS[^gdW! [`! fZW! WhW`f! fZSf! @aef! XS[^e! fa! bdah[VW! IWdh[UW! S`V!
             @aef!VWfWd_[`We![`![fe!dWSea`ST^W!\gVY_W`f!fZSf!egUZ!XS[^gdW!iSe!fZW!dWeg^f!aX5!

             ,)4),) )GJ;=!E8B=MJ=6!

             ,)4)-) 8`k! SUf[a`e! ad! [`SUf[a`e! aX! ;^[W`f'! [`U^gV[`Y! S`k! SUf[h[fk! g`VWd!
                    ;^[W`fse! Ua`fda^! ad! i[fZ[`! fZW! aT^[YSf[a`e! g`VWdfS]W`! Tk! ;^[W`f!
                    %[`U^gV[`Y'!i[fZagf! ^[_[fSf[a`'! ZSU][`Y'! bdah[e[a`! aX![`SUUgdSfW! ad!
                    Uaddgbf!VSfS'!geW!aX!fZW!IWdh[UWe!afZWd!fZS`![`!SUUadVS`UW!i[fZ!fZW!
                    V[dWUf[a`e! aX!@aef'! XS[^gdW! ad! [`ST[^[fk!aX! ;^[W`f! fa! dWUW[hW! <[Y[fS^!
                    8eeWfe'!XS[^gdW!aX!fZW!g`VWd^k[`Y!eaXfiSdW!bdafaUa^e!aX!fZW!<[Y[fS^!
                    8eeWf!`Wfiad]e'!S`V!bdaT^W_e![`!;^[W`fse!^aUS^!W`h[da`_W`f&6!ad!

             ,)4).) CS[`fW`S`UW)!

-)    @aef[`Y!>WW!S`V!<Wbae[f)!

      -),)   +GKLAF?!)==)! !JZW!@aef[`Y!>WW!eZS^^!TW!TSeWV!a`!S!bd[UW!aX!"+)+1+!bWd!][^aiSff!
             S`V! i[^^! TW! T[^^WV! fa! ;^[W`f! SUUadV[`Y! fa! fZW! SUfgS^! W^WUfd[U[fk! Ua`eg_bf[a`!
             YW`WdSfWV)!JZW!@aef[`Y!>WW![e!S`!S^^([`U^ge[hW!Zaef[`Y!bd[UW!iZ[UZ!UahWde!S^^!fZW!
             Zaef[`Y!Uaefe![`UgddWV!Tk!@aef'![`U^gV[`Y'!i[fZagf!^[_[fSf[a`'!A`fWd`Wf!geSYW!XWWe!
             S`V!Zaef[`Y!_S`SYW_W`f)!

      -)-)   '=HGKAL)! !;^[W`f!eZS^^!bSk!fZW!X[def!S`V!^Sef!_a`fZes!@aef[`Y!>WW!i[fZ[`!fZdWW!%.&!
             US^W`VSd! VSke! aX! fZW! =XXWUf[hW! <SfW)! ;^[W`f! eZS^^! S^ea! dW`VWd! bSk_W`f! Xad! S!
             eWUgd[fk! VWbae[f'! US^Ug^SfWV! Se! fZW! Wcg[hS^W`f! aX! a`W! US^W`VSd! _a`fZse! @aef[`Y!
             >WW'! i[fZ[`! fZdWW! %.&! US^W`VSd! VSke! aX! fZW! =XXWUf[hW! <SfW)! @aef! eZS^^! dWfgd`! fZW!
             eWUgd[fk!VWbae[f!fa!;^[W`f!i[fZ[`!fZ[dfk!%.+&!US^W`VSd!VSke!gba`!fWd_[`Sf[a`!aX!fZW!
             8YdWW_W`f![X!`af!geWV!Tk!fZW!@aef)!

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.)    A`ha[UWe'!HSfWe'!S`V!FSk_W`f!JWd_e)!!

      .),)   ,FNGA;=)! @aef! eZS^^! bdah[VW! S`! [`ha[UW! fa! ;^[W`f! efSf[`Y! S^^! Sbb^[UST^W! IWdh[UWe!
             dW`VWdWV!%[`U^gV[`Y!SeeaU[SfWV!XWWe&!S`V!Xad!S`k!HWbS[d!Mad]!bdah[VWV!g`VWd!fZ[e!
             8YdWW_W`f)! @aef! eZS^^! bdah[VW! WSUZ! [`ha[UW! h[S! W_S[^! `a! ^SfWd! fZS`! X[hW! %0&!
             Tge[`Wee!VSke!Xa^^ai[`Y!fZW!W`V!aX!WSUZ!US^W`VSd!_a`fZ)!

      .)-)   38L=K)! @aef! eZS^^! [`ha[UW! ;^[W`f! Xad! S^^! IWdh[UWe! a`! S! _a`fZ^k! TSe[e! Se! efSfWV! [`!
             fZ[e!8YdWW_W`f!ad!Se!SYdWWV!fa!Tk!fZW!FSdf[We![`!id[f[`Y!Xda_!f[_W!fa!f[_W)!!!

      .).)   38L=!&@8F?=K)!@aef!dWeWdhWe!fZW!d[YZf!fa!_aV[Xk![fe!dSfWe5!

             .).),) 8f!fZW!W`V!aX!S`k!JWd_'!bdah[VWV!@aef!`af[X[We!;^[W`f!Sf!^WSef!fZ[dfk!
                    %.+&! US^W`VSd! VSke! [`! SVhS`UW! aX! fZW! WXXWUf[hW! VSfW! aX! egUZ! dSfW!
                    UZS`YW6!

             .).)-) Kba`! S! _SfWd[S^! S`V! egTefS`f[SfWV! [`UdWSeW! [`! S`k! aX! @aefse!
                    abWdSf[`Y!Uaefe'![`U^gV[`Y'!i[fZagf!^[_[fSf[a`'!baiWd!dSfWe'!XSU[^[fk!
                    ^WSe[`Y! dSfWe'! fSj! dSfWe'! ad! [`UdWSeWV! dWYg^Sfadk! Ua_b^[S`UW! Uaefe'!
                    Tgf!`af!i[fZ[`!fZW!X[def!fZdWW!%.&!US^W`VSd!_a`fZe!aX!S`k!JWd_6!ad!

             .).).) AX!fZWdW![e!egefS[`WV!VWUdWSeW!aX!YdWSfWd!fZS`!X[Xfk!bWdUW`f!%0+#&![`!
                    fZW! _Sd]Wf! dSfW! aX! 9J;! Xa^^ai[`Y! fZW! ;a__W`UW_W`f! <SfW! Xad!
                    _adW! fZS`! fZ[dfk! %.+&! US^W`VSd! VSke'! [`! iZ[UZ! WhW`f! @aef! _Sk!
                    Ua`e[VWd!^aiWd[`Y![fe!dSfW)!

      .)/)   28QE=FL! 5=JE)! ;^[W`f! eZS^^! dW`VWd! Xg^^! bSk_W`f! Xad! S^^! [`ha[UWe! i[fZ[`! fW`! %,+&!
             US^W`VSd!VSke!aX!fZW[d!dWUW[bf)!JZW!FSdf[We!SYdWW!fZSf!f[_W!eZS^^!TW!VWW_WV!aX!fZW!
             WeeW`UW![`!fZW!bSk_W`f!aX!WSUZ![`ha[UW)!AX!S`k![`ha[UW!S_ag`f!eZS^^!TW!VgW!S`V!
             g`bS[V!a`!fZW!X[XfWW`fZ!US^W`VSd!VSk!Xa^^ai[`Y!egUZ![`ha[UWse!Sbb^[UST^W!VWSV^[`W!
             %egT\WUf! fa! S! <[ebgfWV! A`ha[UW&'! fZW! @aef! _Sk! dWV[dWUf! S`V! gf[^[lW! fZW! ;^[W`f!
             =cg[b_W`f! Xad! fZW! @aefse! TW`WX[f! g`f[^! egUZ! geSYW! Tk! fZW! Zaef! WcgSfWe! fa! fZW!
             S_ag`f!aiWV!Tk!;^[W`f!a`!fZW!WhWdkVSk!WjUZS`YW!dSfW!aX!;a[`TSeW)!!

      .)0)   28QE=FL!&MJJ=F;Q!8F<!58P=K)!

             .)0),) =jUWbf!Xad!bSk_W`fe!_SVW![`!K`[fWV!IfSfWe!<a^^Sde!%ad!Wcg[hS^W`f!
                    KI<J&'! @aef! dWeWdhWe! fZW! d[YZf! fa! dW\WUf! S`k! bSk_W`f'! ad! dWcg[dW!
                    SVV[f[a`S^!bSk_W`f!TSeWV!a`!fZW!Ua`hWde[a`!dSfW!aX!egUZ!bSk_W`f!
                    fa!K`[fWV!IfSfWe!<a^^Sde!%[X!Sbb^[UST^W&)!


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             .)0)-) =SUZ! FSdfk! eZS^^! TW! dWeba`e[T^W! Xad! fZW! fSjWe! %[`U^gV[`Y'! i[fZagf!
                    ^[_[fSf[a`'!eS^We'!geW'!fdS`eXWd'!bd[h[^WYW'!WjU[eW'!Ua`eg_bf[a`'!S`V!
                    afZWd! fSjWe&'! XWWe'! Vgf[We'! YahWd`_W`fS^! SeeWee_W`fe'! [_bae[f[a`e!
                    S`V!^Wh[We!fZSf!_Sk!TW![_baeWV!ad!^Wh[WV!a`![f![`!Ua``WUf[a`!i[fZ!
                    fZ[e!8YdWW_W`f! S`V*ad! fZW! bdah[e[a`! aX! IWdh[UWe! ZWdWg`VWd! g`VWd!
                    Sbb^[UST^W!^Si)!

      .)1)   'AKHML=<!AFNGA;=K)!A`!fZW!WhW`f!;^[W`f!V[ebgfWe!S`k!IWdh[UW!ad!afZWd!UZSdYW!^[efWV!
             [`!S`![`ha[UW'! @aef! _gef! TW! `af[X[WV!aX! egUZ! V[ebgfW! [`! id[f[`Y! i[fZ[`!eWhW`!%2&!
             US^W`VSd! VSke! aX! fZW! [`ha[UW! VSfW'! S`V! ;^[W`f! eZS^^! dW`VWd! Xg^^! bSk_W`f! Xad! fZW!
             dW_S[`[`Y! g`V[ebgfWV! badf[a`)! Daf[UWe! aX! V[ebgfWe! [eegWV! Tk! ;^[W`f! _adW! fZS`!
             eWhW`!%2&!US^W`VSd!VSke!aX!fZW![`ha[UW!VSfW!eZS^^!TW!bS[V![`!Xg^^!X[def)!;^[W`f!iS[hWe!
             fZW!d[YZf!fa!V[ebgfW!S`![`ha[UW!S_ag`f!SXfWd!fZ[dfk!%.+&!US^W`VSd!VSke!Xa^^ai[`Y!fZW!
             Sbb^[UST^W![`ha[UW!VSfW)!@aef!eZS^^!UdWV[f!S`k!V[ebgfWV!S_ag`fe!dWea^hWV![`!XShad!
             aX!;^[W`f!fa!;^[W`fse!SUUag`f'!S`V!S`k!V[ebgfWV!S_ag`fe!dWea^hWV![`!XShad!aX!@aef!
             eZS^^!TW!bS[V!i[fZ[`!fW`!%,+&!US^W`VSd!VSke!aX!egUZ!dWea^gf[a`)!

      .)2)   3=LMJF! G>! &DA=FL! /AFAF?! (IMAHE=FL)! Kba`! ;^[W`fse! dWcgWef'! S`V! bdah[VWV! fZSf!
             ;^[W`f![e!UgddW`f!a`!S^^!S_ag`fe!VgW!fa!@aef'!@aef!eZS^^!dWfgd`!;^[W`f!=cg[b_W`f!
             gba`!fWd_[`Sf[a`!aX!fZW!8YdWW_W`f)!IZ[bb[`Y!S`V!ZS`V^[`Y!Uaefe!Xad!egUZ!dWfgd`e!
             eZS^^!TW!bS[V!Tk!;^[W`f!fa!@aef![`!SVhS`UW)!H[e]!aX!^aee!Vgd[`Y!eZ[bb[`Y!eZS^^!TW!
             Tad`W!Tk!;^[W`f)!8f!;^[W`fse!V[dWUf[a`!S`V!WjbW`eW'!@aef!i[^^!aTfS[`![`egdS`UW!a`!
             TWZS^X!aX!;^[W`f!Xad!dWfgd`!eZ[bb[`Y!aX!fZW!;^[W`f!=cg[b_W`f)!!!
             !!
      .)3)   &DA=FL! (IMAHE=FL! 4LGJ8?=! )==)! A`! fZW! WhW`f! fZ[e! 8YdWW_W`f! Wjb[dWe! ad! [e!
             fWd_[`SfWV! S`V! ;^[W`f! W[fZWd! _S[`fS[`e! S! VWX[U[W`Uk! [`! bSk_W`f! Xad! IWdh[UWe!
             dW`VWdWV! ad! VaWe! `af! SddS`YW! Xad! fZW! ;^[W`f! =cg[b_W`f$e! dWfgd`! eZ[bb[`Y'! S`V!
             ;^[W`f! VaWe! `af! UgdW! egUZ! TdWSUZ! i[fZ[`! fZ[dfk! %.+&! US^W`VSd! VSke! aX! fZW! VSfW! aX!
             Wjb[dSf[a`!ad!fWd_[`Sf[a`!aX!fZW!8YdWW_W`f'!@aef!_Sk!SeeWee!S!dWSea`ST^W!efadSYW!
             XWW!S`V!VW`k!;^[W`f!SUUWee!fa!fZW!;^[W`f!=cg[b_W`f!g`f[^!egUZ!bSk_W`f![e!dW`VWdWV!
             Tk!;^[W`f![`!Xg^^)!

      .)4)   &DA=FL! (IMAHE=FL! )GJ>=ALMJ=)! A`! fZW! WhW`f! ;^[W`f! XS[^e! fa! UgdW! egUZ! VWX[U[W`Uk!
             i[fZ[`! `[`Wfk! %4+&! US^W`VSd! VSke! aX! fZW! VSfW! aX! Wjb[dSf[a`! ad! fWd_[`Sf[a`! aX! fZW!
             8YdWW_W`f'!f[f^W!ahWd!egUZ!;^[W`f!=cg[b_W`f!Se![e!`WWVWV!fa!aXXeWf!fZW!agfefS`V[`Y!
             TS^S`UW!aX!fZW!VWX[U[W`Uk!eZS^^!fdS`eXWd!fa!@aef)!A`!egUZ!S`!WhW`f'!;^[W`f!eZS^^!ZShW!
             fZdWW! %.&! Tge[`Wee! VSke! fa! bSk! fZW! agfefS`V[`Y! TS^S`UW! aX! fZW! VWX[U[W`Uk'! i[fZ!
             [`fWdWef'![`!iZ[UZ!USeW!f[f^W!fa!fZW!;^[W`f!=cg[b_W`f!bdWh[age^k!fdS`eXWddWV!fa!@aef!
             eZS^^!dWhWdf!fa!;^[W`f)!

/)     JWd_!S`V!JWd_[`Sf[a`)!!



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                                                                                                EXHIBIT C
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      /),)   5=JE)!JZW!fWd_!aX!fZW!8YdWW_W`f!eZS^^!TWY[`!a`!fZW!;a__W`UW_W`f!<SfW!S`V!W`V!
             a`! fZW! VSfW! a`W! %,&! US^W`VSd! kWSd! Xa^^ai[`Y! aX! fZW! ;a__W`UW_W`f! <SfW!
             %p4=IDq&)!8f! fZW! W`V! aX! fZW!JWd_'! g`^Wee! W[fZWd! FSdfk! [eegWe! S! id[ffW`! `af[UW! aX!
             `a`(dW`WiS^'! fZ[e! 8YdWW_W`f! eZS^^! Sgfa_Sf[US^^k! dW`Wi! Xad! egUUWee[hW! a`W! %,&!
             US^W`VSd!kWSd!fWd_e)!!

      /)-)   5=JEAF8LAGF)!!

             /)-),) 5=JEAF8LAGF! 9Q! (AL@=J! 28JLQ)! JZ[e!8YdWW_W`f! _Sk! TW! fWd_[`SfWV!
                    Tk!W[fZWd!FSdfk'!Sf!S`k!f[_W'!i[fZagf!^[ST[^[fk!fa!fZW!afZWd!FSdfk'!Xad!
                    S`k!a`W!ad!_adW!aX!fZW!Xa^^ai[`Y5!

             1#      JZW! `a`(fWd_[`Sf[`Y! FSdfk! TdWSUZWe! S`k! _SfWd[S^! fWd_! aX! fZ[e!
                     8YdWW_W`f! S`V! XS[^e! fa! UgdW! egUZ! TdWSUZ! %[X! egeUWbf[T^W! fa! UgdW&!
                     i[fZ[`! fZ[dfk! %.+&! US^W`VSd! VSke! SXfWd! dWUW[bf! aX! id[ffW`! `af[UW! aX!
                     fZW!eS_W6!

             11#     JZW! `a`(fWd_[`Sf[`Y! FSdfk! TWUa_We! fZW! egT\WUf! aX! S! ha^g`fSdk! ad!
                     [`ha^g`fSdk! bdaUWWV[`Y! dW^Sf[`Y! fa! [`ea^hW`Uk'! TS`]dgbfUk'!
                     dWUW[hWdeZ[b'! ^[cg[VSf[a`'! ad! dWadYS`[lSf[a`! Xad! fZW! TW`WX[f! aX!
                     UdWV[fade'!S`V!egUZ!bWf[f[a`!ad! bdaUWWV[`Y! [e! `af!V[e_[eeWV! i[fZ[`!
                     e[jfk!%1+&!US^W`VSd!VSke!aX!fZW!X[^[`Y!fZWdWaX6!ad!

             111#    8!Uagdf!ad!afZWd!YahWd`_W`f!SgfZad[fk!ZSh[`Y!\gd[eV[Uf[a`!ahWd!fZW!
                     IWdh[UWe!bdaZ[T[fe!@aef!Xda_!Xgd`[eZ[`Y!fZW!IWdh[UWe!fa!;^[W`f)!!

             /)-)-) 5=JEAF8LAGF!9Q!+GKL)!@aef!_Sk!fWd_[`SfW!fZ[e!8YdWW_W`f![X!;^[W`f!
                    XS[^e!fa!bSk!S`k!eg_!Xad!IWdh[UWe!iZW`!egUZ!bSk_W`f![e!VgW!%S`V!
                    egUZ! XS[^gdW! dW_S[`e! g`UgdWV! Xad! S! bWd[aV! aX! fZ[dfk! %.+&! US^W`VSd!
                    VSke&)!!

0)    HWbdWeW`fSf[a`e!S`V!MSddS`f[We)!!

      0),)   +GKL!3=HJ=K=FL8LAGFK)!@aef!dWbdWeW`fe!S`V!iSddS`fe!fa!;^[W`f!fZSf5!

             ,)      @aef!ZSe!Xg^^!baiWd!S`V!SgfZad[fk!fa!W`fWd![`fa!fZ[e!8YdWW_W`f!S`V!
                     bWdXad_!@aefse!aT^[YSf[a`e!ZWdWg`VWd6!

             -)      @aefse! bWdXad_S`UW! aX! [fe! aT^[YSf[a`e! ZWdWg`VWd! i[^^! `af! h[a^SfW!
                     S`k!Sbb^[UST^W!^Sie!ad!dWcg[dW!fZW!Ua`eW`f!aX!S`k!fZ[dV!bSdfk6!!




                                                       2!
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       .)     JZW! fdS`eSUf[a`! ZWdW[`! _WWfe! fZW! dWcg[dW_W`fe! aX! ^aUS^! ^Sie'!
              dWYg^Sf[a`e'! S`V! [`Vgefdk! `ad_e! aX! fZW! \gd[eV[Uf[a`! aX! fZW! <SfS!
              ;W`fWd!S`V*ad!;^[W`f!IbSUW'!S`V!fZW!Ua`fW`f!aX!fZ[e!fdS`eSUf[a`!i[fZ!
              fZW!;^[W`f![e!bdafWUfWV!Tk!S`k!Sbb^[UST^W!^Sie)!

       /)     A`!fZW!WhW`f!@aef!bdah[VWe!S`k!IWdh[UWe!Xad!;^[W`f!;a`fS[`Wde'!@aef!
              eZS^^! TW! ^[ST^W! Xad! fZW! [`fWYd[fk! S`V! eWUgd[fk! aX! egUZ! ;^[W`f!
              ;a`fS[`Wde)!

 -)    0G! 1L@=J! +GKL! 78JJ8FLA=K)! JZW! IWdh[UWe! %[`U^gV[`Y! S^^! _SfWd[S^e! egbb^[WV! S`V!
       geWV!fZWdWi[fZ&!SdW!bdah[VWV!pSe![e'q!piZWdW![eq'!S`V!;^[W`fse!geW!aX!fZW!IWdh[UWe!
       [e! Sf! ;^[W`fse! ai`! d[e])! @aef! VaWe! `af! _S]W'! S`V! ZWdWTk! V[eU^S[_e'! S`k! S`V! S^^!
       dWbdWeW`fSf[a`e!S`V!iSddS`f[We'!WjbdWee!ad![_b^[WV'!iZWfZWd![`!XSUf!ad!Tk!abWdSf[a`!
       aX!^Si'!efSfgfadk!ad!afZWdi[eW'![`U^gV[`Y'!Tgf!`af!^[_[fWV!fa'!S`k!dWbdWeW`fSf[a`!ad!
       iSddS`fk!dWYSdV[`Y!fZW!bd[UW!ad!^[cg[V[fk!aX!S`k!<[Y[fS^!8eeWf'!W[fZWd!`ai!ad![`!fZW!
       XgfgdW'! iSddS`f[We! aX! _WdUZS`fST[^[fk'! ZST[fST[^[fk'! _Sd]WfST[^[fk'! bdaX[fST[^[fk'!
       X[f`Wee!Xad!S!bSdf[Ug^Sd!bgdbaeW'!eg[fST[^[fk'!`a`[`Xd[`YW_W`f'!f[f^W'!ad!Sd[e[`Y!Xda_!
       S!UagdeW!aX!VWS^[`Y'!ad!fdSVW!bdSUf[UW)!!

 .)    &DA=FL!3=HJ=K=FL8LAGFK)!;^[W`f!dWbdWeW`fe!S`V!iSddS`fe!fa!@aef!fZSf5!

       .),)    ;^[W`f! ZSe! Xg^^! baiWd! S`V! SgfZad[fk! fa! W`fWd! [`fa! fZ[e! 8YdWW_W`f!
               S`V!bWdXad_!;^[W`fse!aT^[YSf[a`e!ZWdWg`VWd6!

       .)-)    ;^[W`f!i[^^!bdah[VW!;^[W`fse!9[fUa[`!SVVdWee!fa!@aef![`!Ua_b^[S`UW!
               i[fZ!@aefse!9[fUa[`!SVVdWee!bdaUWVgdW)!;^[W`f!i[^^!hWd[Xk!fZSf!@aef!
               ZSe! UaddWUf^k! [`efS^^WV! ;^[W`fse! 9[fUa[`! SVVdWee! S`V! i[^^!
               [__WV[SfW^k! `af[Xk! @aef! [X! fZWdW! SdW! S`k! [`SUUgdSU[We! [`! ;^[W`fse!
               9[fUa[`!SVVdWee6!

       .).)    ;^[W`f! i[^^! bdah[VW! S^^! W`V(geWd! Wcg[b_W`f'! eaXfiSdW'! UdWVW`f[S^e'!
               S`V*ad!dW^SfWV!Wcg[b_W`f!fZSf!;^[W`f!VWW_e!`WUWeeSdk!ad!VWe[dST^W!
               Xad! ;^[W`fse! dWUW[bf! aX! <[Y[fS^!8eeWfe)! @aef! VaWe! `af! bdah[VW'! S`V!
               ;^[W`f!eZS^^!Za^V!@aef!ZSd_^Wee!Xda_'!geWd!ad!SUUWee!eWUgd[fk!i[fZ!
               dWebWUf!fa!S`k!aX!;^[W`fse!=cg[b_W`f!ad!fZW!<SfS!;W`fWd!S`V!eZS^^!
               TW! ea^W^k! ^[ST^W! Xad! geWd! SUUWee! eWUgd[fk! S`V! `Wfiad]! SUUWee! fa!
               ;^[W`f! =cg[b_W`f)! @aef! i[^^! `af! bdah[VW! S`k! eWdh[UW! fa! VWfWUf! ad!
               [VW`f[Xk! S`k! eWUgd[fk! TdWSUZ! aX! ;^[W`f! =cg[b_W`f! ad! fZW! <SfS!
               ;W`fWd)! @aef! i[^^! `af! bdah[VW! S`k! fWefe'! faa^e'! ad! fWUZ`[cgWe!
               [`fW`VWV! fa! YS[`! g`SgfZad[lWV! SUUWee! fa! ;^[W`f! =cg[b_W`f! ad!
               ;^[W`fse!bWdea`S^!bdabWdfk6!




                                                3!
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             .)/)    ;^[W`f!i[^^!Sf!S^^!f[_We!Ua_b^k!i[fZ!fZW!^Sie'!dWYg^Sf[a`e!S`V!dg^We!
                     aX!S`k!Sbb^[UST^W!YahWd`_W`fS^!ad!dWYg^Sfadk!SgfZad[fk'![`U^gV[`Y'!
                     i[fZagf! ^[_[fSf[a`'! Ca`Wk! IWdh[UW! 9ge[`Wee!dWYg^Sf[a`e! g`VWd! fZW!
                     >[`S`U[S^! ;d[_We! =`XadUW_W`f! DWfiad]! %p(AE%=Eq&6! efSfW! _a`Wk!
                     fdS`e_[ee[a`! ^Sie6! ^Sie'! dWYg^Sf[a`e'! S`V! dg^We! aX! dW^WhS`f! fSj!
                     SgfZad[f[We6! Sbb^[UST^W! dWYg^Sf[a`e! S`V! Yg[VS`UW! eWf! XadfZ! Tk!
                     >[`;=D6!fZW!9S`]!IWUdWUk!8Uf!aX!,42+6!fZW!KI8!F8JHAEJ!8Uf!aX!
                     -++,6!8CB*;J>!bdah[e[a`e!Se! _S`VSfWV!Tk!K)I)!XWVWdS^!^Si!S`V!
                     S`k! afZWd! dg^We! S`V! dWYg^Sf[a`e! dWYSdV[`Y! 8CB*;J>6! [eegS`UWe!
                     Xda_!fZW!EXX[UW!aX!>adW[Y`!8eeWfe!;a`fda^!%p/(#%q&6!fZW!DSf[a`S^!
                     >gfgdWe!8eeaU[Sf[a`6! fZW! >[`S`U[S^! A`Vgefdk! HWYg^Sfadk!8gfZad[fk6!
                     S`V!fZW!;a__aV[fk!=jUZS`YW!8Uf6!

             .)0)    ;^[W`f! i[^^! `af! geW! fZW! IWdh[UWe! fa! efadW! ad! fdS`e_[f! [`Xd[`Y[`Y'!
                     ^[TW^age'!ad!afZWdi[eW! g`^SiXg^!ad!fadf[age!_SfWd[S^'!ad!fa! efadW!ad!
                     fdS`e_[f!_SfWd[S^![`!h[a^Sf[a`!aX!fZ[dV!bSdfk!bd[hSUk!d[YZfe6!geW!fZW!
                     IWdh[UWe!fa!efadW!ad!fdS`e_[f!L[dgeWe6!SffW_bf!fa!YS[`!g`SgfZad[lWV!
                     SUUWee! fa! S`k! IWdh[UW! ad! [fe! dW^SfWV! ekefW_e! ad! `Wfiad]e6! bWd_[f!
                     V[dWUf! ad! [`V[dWUf! SUUWee! fa! ad! geW! aX! S`k! IWdh[UW! [`! S! iSk! fZSf!
                     U[dUg_hW`fe!S!Ua`fdSUfgS^!geSYW!^[_[f6!Uabk!S!IWdh[UW!ad!S`k!bSdf'!
                     XWSfgdW'! Xg`Uf[a`'! ad! geWd! [`fWdXSUW! fZWdWaX! WjUWbf! Se! bWd_[ffWV!
                     g`VWd! fZ[e! 8YdWW_W`f6! ad! geW! fZW! IWdh[UWe! [`! dW^Sf[a`! fa! S`k! SUf!
                     VWW_WV!g`^SiXg^)!;^[W`f!i[^^!geW!Ua__WdU[S^^k!dWSea`ST^W!WXXadfe!
                     fa! bdWhW`f! g`SgfZad[lWV! SUUWee! fa! ad! g`SgfZad[lWV! geW! aX! fZW!
                     IWdh[UWe!S`V!eZS^^!`af[Xk!@aef!bda_bf^k!aX!S`k!egUZ!g`SgfZad[lWV!
                     SUUWee! aX! geW)! >ad! bgdbaeWe! aX! fZ[e! eWUf[a`'! pL[dgeWeq! _WS`e! S`k!
                     _S^[U[age! VSfS'! UaVW'! bdaYdS_'! ad! afZWd! [`fWd`S^! Ua_ba`W`f! %W)Y)'!
                     Ua_bgfWd! iad_'! Ua_bgfWd! f[_W! Ta_T! ad! e[_[^Sd! Ua_ba`W`f&'!
                     iZ[UZ! Uag^V! VS_SYW'! VWefdak'! S^fWd'! ad! V[edgbf! S`k! Ua_bgfWd!
                     bdaYdS_'! X[d_iSdW'! ad! ZSdViSdW'! ad! iZ[UZ! Uag^V'! [`! S`k! _S``Wd'!
                     dWhWS^'! VS_SYW'! VWefdak'! S^fWd'! ad! V[edgbf! S`k! VSfS! ad! afZWd!
                     [`Xad_Sf[a`! SUUWeeWV! fZdagYZ! ad! bdaUWeeWV! Tk! fZW! IWdh[UW! [`! S`k!
                     _S``Wd6!

             .)1)    ;^[W`f!ZSe!U^WSd!f[f^W'!XdWW!S`V!U^WSd!aX!S^^!eWUgd[fk![`fWdWefe!ad!^[W`e'!
                     fa!;^[W`f!=cg[b_W`f'! [`U^gV[`Y!fZW! ^WYS^! d[YZf!fa! geW'! abWdSfW! S`V!
                     ^aUSfW!;^[W`f!=cg[b_W`f![`!fZW!<SfS!;W`fWd6!S`V!

             .)2)    ;^[W`fse!bWdXad_S`UW!aX![fe!aT^[YSf[a`e!ZWdWg`VWd!S`V!dWUW[bf!aX!fZW!
                     <[Y[fS^!8eeWfe! i[^^! `af! h[a^SfW! S`k! Sbb^[UST^W! ^Sie! ad! dWcg[dW! fZW!
                     Ua`eW`f!aX!S`k!fZ[dV!bSdfk)!!

-)    B[_[fSf[a`e!aX!B[ST[^[fk!S`V!A`VW_`[X[USf[a`)!!

                                                       4!
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 -),)   'A?AL8D!$KK=LK)!@aef!VaWe!`af!ai`!S`k!<[Y[fS^!8eeWfe!ad!SeeaU[SfWV!Wcg[b_W`f!S`V!
        VaWe!`af!ai`!fZW!g`VWd^k[`Y!eaXfiSdW!bdafaUa^e!aX!<[Y[fS^!8eeWf!`Wfiad]e!iZ[UZ!
        YahWd`! fZW! abWdSf[a`! aX! egUZ! <[Y[fS^! 8eeWfe)! @aef! [e! `af! dWeba`e[T^W! Xad! fZW!
        abWdSf[a`! aX! fZW! g`VWd^k[`Y! bdafaUa^e! S`V! _S]We! `a! YgSdS`fWWe! dWYSdV[`Y! fZW[d!
        eWUgd[fk'!Xg`Uf[a`S^[fk'!ad!ShS[^ST[^[fk)!A`!`a!WhW`f!eZS^^!@aef!TW!^[ST^W!fa!;^[W`f!ad!
        S`k!afZWd!W`f[fk!Xad!S`k!VWU[e[a`!_SVW!ad!SUf[a`!fS]W`!Tk!;^[W`f![`!dW^[S`UW!a`'!ad!
        [`! Ua``WUf[a`! i[fZ! fZW! IWdh[UWe)! JZ[e! ^[_[fSf[a`! a`! ^[ST[^[fk! [`U^gVWe'! i[fZagf!
        ^[_[fSf[a`'!S`k!VS_SYW!ad![`fWddgbf[a`e!USgeWV!Tk!S`k!Ua_bgfWd!h[dgeWe'!ebkiSdW'!
        eUS_iSdW'! fda\S`! ZadeWe'! iad_e'! ad! afZWd! _S^iSdW! fZSf! _Sk! SXXWUf! ;^[W`fse!
        Ua_bgfWd!ad!afZWd!Wcg[b_W`f'!ad!S`k!bZ[eZ[`Y'!ebaaX[`Y'!Va_S[`!fkbaecgSff[`Y!ad!
        afZWd! SffSU]e! %Ua^^WUf[hW^k'! p*8;BAE?q&'! ad! >GJ;=! E8B=MJ=)! AX! fZ[e! V[eU^S[_Wd! aX!
        ^[ST[^[fk! eWUf[a`! [e! VWW_WV! fa! Ua`X^[Uf! i[fZ! S`k! afZWd! eWUf[a`! aX! fZ[e!8YdWW_W`f'!
        fZ[e! V[eU^S[_Wd! aX! ^[ST[^[fk! eWUf[a`! eZS^^! bdWhS[^! S`V! Ua`fda^! fa! fZW! WjfW`f! aX! fZW!
        Ua`X^[Uf)!>ad!bgdbaeWe!aX!fZ[e!8YdWW_W`f'!p&A?AK8C!#JJ=Kq!_WS`e!S`k!V[Y[fS^!SeeWf'!
        UdkbfaUgddW`Uk'!h[dfgS^!UgddW`Uk'!V[Y[fS^!UgddW`Uk'!ad!V[Y[fS^!Ua__aV[fk'![`U^gV[`Y'!
        i[fZagf! ^[_[fSf[a`'! 9[fUa[`! S`V! =fZWd'! iZ[UZ! [e! TSeWV! a`! fZW! UdkbfaYdSbZ[U!
        bdafaUa^!aX!S!Ua_bgfWd!`Wfiad]!fZSf!_Sk!TW5!UW`fdS^[lWV!ad!VWUW`fdS^[lWV6!U^aeWV!
        ad!abW`(eagdUW6!ad!geWV!Se!S!_WV[g_!aX!WjUZS`YW!S`V*ad!efadW!aX!hS^gW)!!


 -)-)   ,F>GJE8LAGF! 4=;MJALQ)! ;^[W`f! g`VWdefS`Ve! S`V! SYdWWe! fZSf! geW! aX!
        fW^WUa__g`[USf[a`e!S`V!VSfS!Ua__g`[USf[a`e!`Wfiad]e!S`V!fZW!A`fWd`Wf!_Sk!`af!
        TW! eWUgdW! S`V! fZSf! Ua``WUf[a`! fa! S`V! fdS`e_[ee[a`! aX! VSfS! S`V! [`Xad_Sf[a`! ahWd!
        fZW!A`fWd`Wf!S`V!egUZ!XSU[^[f[We!bdah[VWe!fZW!abbadfg`[fk!Xad!g`SgfZad[lWV!SUUWee!fa!
        iS^^Wfe'!Ua_bgfWd!ekefW_e'!`Wfiad]e'!S`V!S^^!VSfS!efadWV!fZWdW[`)!A`Xad_Sf[a`!S`V!
        VSfS!fdS`e_[ffWV! fZdagYZ! fZW! A`fWd`Wf! ad!efadWV!a`! S`k!Wcg[b_W`f!fZdagYZ! iZ[UZ!
        A`fWd`Wf![`Xad_Sf[a`![e!fdS`e_[ffWV!_Sk!`af!dW_S[`!Ua`X[VW`f[S^'!S`V!@aef!VaWe!`af!
        _S]W!S`k!dWbdWeW`fSf[a`!ad!iSddS`fk!dWYSdV[`Y!bd[hSUk'!eWUgd[fk'!SgfZW`f[U[fk'!S`V!
        `a`(Uaddgbf[a`!ad!VWefdgUf[a`!aX!S`k!egUZ![`Xad_Sf[a`)!@aef!VaWe!`af!iSddS`f!fZSf!
        fZW!IWdh[UWe!ad!;^[W`fse!geW!i[^^!TW!g`[`fWddgbfWV'!Wddad(XdWW'!ad!eWUgdW)!@aef!eZS^^!
        `af!TW!dWeba`e[T^W!Xad!S`k!SVhWdeW!Ua`eWcgW`UW!ad!^aee!iZSfeaWhWd!fa!;^[W`fse!%ad!
        [fe! geWde!! ad! egTeUd[TWde!&! geW! aX! fZW! IWdh[UWe! ad! fZW! A`fWd`Wf)! KeW! aX! S`k!
        [`Xad_Sf[a`! fdS`e_[ffWV! ad! aTfS[`WV! Tk! ;^[W`f! Xda_! @aef! [e!Sf! ;^[W`fse!ai`! d[e])!
        @aef! [e! `af! dWeba`e[T^W! Xad! fZW! SUUgdSUk! ad! cgS^[fk! aX! [`Xad_Sf[a`! aTfS[`WV!
        fZdagYZ! [fe! `Wfiad]'! [`U^gV[`Y! Se! S! dWeg^f! aX! XS[^gdW! aX! bWdXad_S`UW'! Wddad'!
        a_[ee[a`'! [`fWddgbf[a`'! Uaddgbf[a`'! VW^Wf[a`'! VWXWUf'! VW^Sk! [`! abWdSf[a`! ad!
        fdS`e_[ee[a`'! Ua_bgfWd!h[dge'!Ua__g`[USf[a`!^[`W! XS[^gdW'!fZWXf! ad! VWefdgUf[a`!ad!
        g`SgfZad[lWV! SUUWee! fa'! S^fWdSf[a`! aX'! ad! geW! aX! [`Xad_Sf[a`! ad! XSU[^[f[We'! ad!
        _S^Xg`Uf[a`[`Y!aX!iWTe[fWe)!@aef!VaWe!`af!Ua`fda^!fZW!fdS`e_[ee[a`!ad!X^ai!aX!VSfS!
        fa!ad!Xda_!@aefse!`Wfiad]!S`V!afZWd!badf[a`e!aX!fZW!A`fWd`Wf'![`U^gV[`Y!fZW!<[Y[fS^!
        8eeWf! `Wfiad]e)! IgUZ! fdS`e_[ee[a`e! S`V*ad! X^ai! VWbW`V! [`! bSdf! a`! fZW!
        bWdXad_S`UW! aX! fW^WUa__g`[USf[a`e! S`V*ad! A`fWd`Wf! eWdh[UWe! bdah[VWV! ad!

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         Ua`fda^^WV!Tk!fZ[dV!bSdf[We)!8f!f[_We'!SUf[a`e!ad![`SUf[a`e!aX!egUZ!fZ[dV!bSdf[We!_Sk!
         [_bS[d! ad! V[edgbf! @aef! ad! ;^[W`fse! Ua``WUf[a`e! fa! fZW! IWdh[UWe)! @aef! VaWe! `af!
         dWbdWeW`f!ad!iSddS`f!fZSf!egUZ!WhW`fe!i[^^!`af!aUUgd'!S`V!@aef!V[eU^S[_e!S`k!S`V!
         S^^! ^[ST[^[fk! dWeg^f[`Y! Xda_! ad! dW^SfWV! fa! egUZ! SUfe! ad! a_[ee[a`e)! AX! @aef! egebWUfe!
         S`k!eWUgd[fk!h[a^Sf[a`e!ZShW!aUUgddWV!dW^SfWV!fa!;^[W`fse!SUUag`f!ad!<[Y[fS^!8eeWfe'!
         @aef!_Sk!egebW`V!SUUWee!fa!;^[W`fse!SUUag`f!S`V!ZSdViSdW!bW`V[`Y!dWea^gf[a`)!

 -).)    &GFK=IM=FLA8D! '8E8?=K)! A`! `a! WhW`f! i[^^! W[fZWd! FSdfk! TW! ^[ST^W! fa! fZW! afZWd! Xad!
         S`k! fkbW! aX! [`U[VW`fS^'! ebWU[S^'! WjW_b^Sdk'! bg`[f[hW'! [`V[dWUf! ad! Ua`eWcgW`f[S^!
         VS_SYWe'! [`U^gV[`Y'! Tgf! `af! ^[_[fWV! fa'! ^aef! dWhW`gW'! ^aef! bdaX[fe'! dWb^SUW_W`f!
         YaaVe'!^aee!aX!fWUZ`a^aYk'!d[YZfe!ad!eWdh[UWe'!^aee!aX!VSfS'!ad![`fWddgbf[a`!ad!^aee!aX!
         geW!aX!eWdh[UW!ad!Wcg[b_W`f'!WhW`![X!egUZ!FSdfk!iSe!SVh[eWV!aX!fZW!baee[T[^[fk!aX!
         egUZ!VS_SYWe'!S`V!iZWfZWd!Sd[e[`Y!g`VWd!fZWadk!aX!Ua`fdSUf'!fadf'!efd[Uf!^[ST[^[fk!ad!
         afZWdi[eW)!!

 -)/)    '8E8?=! LG! &DA=FL! (IMAHE=FL)! @aef! eZS^^! `af! TW! dWeba`e[T^W! Xad! S`k! Uae_Wf[U!
         VS_SYW!ad!abWdSf[a`!VWX[U[W`Uk!Xda_!;^[W`f!=cg[b_W`f'!ad!;^[W`f!;a`fS[`Wde'!`af!
         VgW!fa!@aefse![`fW`f[a`S^!SUfe!ad!a_[ee[a`e'!S`V!@aef!eZS^^!`af!dWbS[d!ad!dW[_TgdeW!
         fZW!;^[W`f!Xad!S`k!egUZ!VS_SYW!i[fZagf!@aefse!bd[ad!id[ffW`!Ua`eW`f)!

 1)0!!   .=?8D! 2JG;=KK=K)! @aef! S`V! [fe! SXX[^[SfWe'! eWdh[UW! bdah[VWde'! S`V! fZW[d! dWebWUf[hW!
         aXX[UWde'! V[dWUfade'! SYW`fe'! \a[`f! hW`fgdWde'! W_b^akWWe'! S`V! dWbdWeW`fSf[hWe! _Sk!
         Ua_b^k!i[fZ!S`k!id[f!aX!SffSUZ_W`f'!WjWUgf[a`'!YSd`[eZ_W`f'!fSj!^Whk'!dWefdS[`[`Y!
         adVWd'! egTbaW`S'! iSddS`f! ad! afZWd! ^WYS^! bdaUWee'! iZ[UZ! @aef! dWSea`ST^k! S`V! [`!
         YaaV! XS[fZ! TW^[WhWe! fa! TW! hS^[V)! @aef! _Sk! `af[Xk! ;^[W`f! aX! egUZ! bdaUWee! Tk!
         W^WUfda`[U! Ua__g`[USf[a`! g`^Wee! ebWU[X[US^^k! adVWdWV! `af! fa! WXXWUf! egUZ! `af[UW)!
         @aef!_Sk!UZSdYW!;^[W`f!Xad!SeeaU[SfWV!Uaefe'![`!SVV[f[a`!fa!S`k!^WYS^!bdaUWee!XWWe)!
         ;^[W`f! SYdWWe! fa! [`VW_`[Xk'! VWXW`V'! S`V! Za^V! @aef! ZSd_^Wee! Xda_! S^^! SUf[a`e'!
         U^S[_e'!^[ST[^[f[We'!^aeeWe'!Uaefe'!Sffad`Wkse!XWWe'!ad!VS_SYWe!SeeaU[SfWV!i[fZ!@aefse!
         Ua_b^[S`UW! i[fZ! S`k! bdaUWee! fZSf! @aef! dWSea`ST^k! TW^[WhWe! [`! YaaV! XS[fZ! fa! TW!
         hS^[V)!

 1)      +GKL! ,F<=EFA>A;8LAGF)! A`! SVV[f[a`! fa! S`k! afZWd! Sbb^[UST^W! d[YZfe! g`VWd! fZ[e!
         8YdWW_W`f'! ;^[W`f! SYdWWe! fa! [`VW_`[Xk'! VWXW`V! S`V! Za^V! ZSd_^Wee! @aef! S`V! [fe!
         aXX[UWde'! _S`SYWde'! bSdf`Wde'! _W_TWde'! SYW`fe'! W_b^akWWe'! SXX[^[SfWe'! Sffad`Wke'!
         ZW[de'! egUUWeeade! S`V! See[Y`e! %Ua^^WUf[hW^k! p*FJK! 08IKA=Jq&! Xda_! S`k! S`V! S^^!
         U^S[_e'! VW_S`Ve'! SUf[a`e'! eg[fe'! bdaUWWV[`Ye'! S`V! S^^! VS_SYWe'! \gVY_W`fe'!
         ^[ST[^[f[We'! ^aeeWe'! S`V! WjbW`eWe'! [`U^gV[`Y'! Tgf! `af! ^[_[fWV! fa'! dWSea`ST^W!
         Sffad`Wke!!XWWe!%p,FJJ=Jq&'!Sd[e[`Y!Xda_!ad!dW^Sf[`Y!fa!%S&!S`k!^WYS^'!dWYg^Sfadk!ad!
         YahWd`_W`fS^!SUf[a`!SYS[`ef!ad![`U^gV[`Y!;^[W`f'!%T&!fZW!_S[`fW`S`UW!ad!abWdSf[a`!
         aX! ;^[W`fse! =cg[b_W`f'! %U&! S`k! Baee! Tk! S`k! aX! ;^[W`f'! [fe! aXX[UWde'! _S`SYWde'!
         bSdf`Wde'! _W_TWde'! SYW`fe'! W_b^akWWe'! SXX[^[SfWe'! Sffad`Wke'! ZW[de'! egUUWeeade! ad!
         See[Y`e!%Ua^^WUf[hW^k!p%CA=EK!08IKA=Jq&'!%V&!S`k!U^S[_!Tk!S`!SXX[^[SfW!aX!fZW!;^[W`f!

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              FSdf[We'![`U^gV[`Y!S!Ugefa_Wd'!dW^Sf[`Y!fa'!ad!Sd[e[`Y!agf!aX'!fZ[e!8YdWW_W`f!ad!fZW!
              IWdh[UWe!%[`U^gV[`Y!U^S[_e! Sd[e[`Y!Xda_! ad!dW^Sf[`Y!fa![`fWddgbf[a`e'!egebW`e[a`e'!
              XS[^gdWe'! VWXWUfe'! VW^Ske'! [_bS[d_W`fe! ad! [`SVWcgSU[We! [`! S`k! aX! fZW!
              SXadW_W`f[a`WV!IWdh[UWe&'!%W&!S`k!TdWSUZ!ad!`a`bWdXad_S`UW!Tk!;^[W`f!FSdf[We!aX!
              S`k!bdah[e[a`!ad!UahW`S`f!Ua`fS[`WV![`!fZ[e!8YdWW_W`f!ad!fZW!IWdh[UWe'!ad!%X&!S`k!
              U^S[_!dW^SfWV!fa!@SU][`Y)!

      2)      &DA=FL! ,F<=EFA>A;8LAGF)!JZW! @aef! eZS^^! [`VW_`[Xk'! VWXW`V! S`V! Za^V! ZSd_^Wee! fZW!
              ;^[W`f! S`V! [fe! dWebWUf[hW! 8XX[^[SfWe'! aXX[UWde'! V[dWUfade'! W_b^akWWe'! SYW`fe'!
              egUUWeeade! S`V! See[Y`e! Xda_! S`V! SYS[`ef! S`k! S`V! S^^! A`VW_`[X[ST^W! BaeeWe!
              dWeg^f[`Y! Xda_! ad! Sd[e[`Y! agf! aX5! %S&! S`k! [`SUUgdSUk! [`! ad! TdWSUZ! ad! `a`(
              bWdXad_S`UW! aX! S`k! aX! fZW! @aef$e! dWbdWeW`fSf[a`e! S`V! iSddS`f[We'! ad! afZWd!
              UahW`S`fe!ad!SYdWW_W`fe![`!fZ[e!8YdWW_W`f!ad!S`k!afZWd!fdS`eSUf[a`!VaUg_W`f!Tk!
              fZW! @aef'! %T&! fZW! XS[^gdW! aX! fZW! @aef! fa! bWdXad_! ad! aTeWdhW! Xg^^k! S`k! UahW`S`f'!
              SYdWW_W`f! ad! afZWd! bdah[e[a`!fa!TW!bWdXad_WV!ad!aTeWdhWV! Tk![f! bgdegS`f!fa! fZ[e!
              SYdWW_W`f!ad!S`k!afZWd!fdS`eSUf[a`!VaUg_W`f'!ad!%U&!S`k!afZWd!_SffWde'!fZ[`Ye!ad!
              WhW`fe! iZ[UZ! Y[hW! d[eW! fa! S`k! A`VW_`[X[WV! FSdfk! egXXWd[`Y! ad! [`Ugdd[`Y!
              A`VW_`[X[ST^W!BaeeWe!i[fZ!dWebWUf!fa![fe!ad![fe!8XX[^[SfWes![`hWef_W`fe![`!fZW!;^[W`f)!!
              AX!S`V!fa!fZW!WjfW`f!fZSf!egUZ![`VW_`[X[USf[a`![e!g`W`XadUWST^W!Xad!S`k!dWSea`'!fZW!
              @aef!i[^^!_S]W!fZW!_Sj[_g_!Ua`fd[Tgf[a`!fa!fZW!bSk_W`f!S`V!eSf[eXSUf[a`!aX!egUZ!
              [`VW_`[X[WV!^[ST[^[f[We!bWd_[ee[T^W!g`VWd!Sbb^[UST^W!BSi)!

-)    ;a`X[VW`f[S^[fk)!!

      ,)      'AK;DGKMJ=!8F<!6K=)!=SUZ!FSdfk!SYdWWe!fZSf![f!i[^^!`af!geW![`!S`k!iSk'!`ad!V[eU^aeW!
              fa! S`k! fZ[dV! bSdfk'! fZW! afZWd! FSdfkse! ;a`X[VW`f[S^! A`Xad_Sf[a`'! S`V! i[^^! fS]W!
              dWSea`ST^W! bdWUSgf[a`e! fa! bdafWUf! fZW! Ua`X[VW`f[S^[fk! aX! egUZ! [`Xad_Sf[a`'! Se!
              efd[`YW`f^k!Se![f!fS]We!fa!bdafWUf![fe!ai`!;a`X[VW`f[S^!A`Xad_Sf[a`'!Tgf![`!`a!USeW!
              i[^^!fZW!VWYdWW!aX!USdW!TW!^Wee!fZS`!dWSea`ST^W!USdW)!DafZ[`Y!ZWdW[`!eZS^^!bdWU^gVW!
              V[eU^aegdW! Tk! S! FSdfk! fa! fZSf! FSdfkse! Sffad`Wke'! SUUag`fS`fe! S`V! W_b^akWWe! iZa!
              ZShW! S! Ta`S! X[VW! `WWV! fa! ]`ai! fZW! afZWd! FSdfkse! ;a`X[VW`f[S^! A`Xad_Sf[a`! [`!
              Ua``WUf[a`! i[fZ! fZW! dWUW[h[`Y! FSdfkse! bWdXad_S`UW! g`VWd! fZ[e! 8YdWW_W`f)! =SUZ!
              FSdfk! SYdWWe! fa! a`^k! _S]W! Uab[We! aX! fZW! afZWdse! ;a`X[VW`f[S^! A`Xad_Sf[a`! Xad!
              bgdbaeWe! Ua`e[efW`f! i[fZ! fZ[e!8YdWW_W`f'! S`V! WSUZ! FSdfk! eZS^^! _S[`fS[`! a`! S`k!
              egUZ!Uab[We!S! bdabd[WfSdk! ^WYW`V!ad!`af[UW!Se!Ua`fS[`WV! a`!fZW!ad[Y[`S^!ad!Se!fZW!
              V[eU^ae[`Y! FSdfk! _Sk! dWcgWef)! >ad! bgdbaeWe! aX! fZ[e! IWUf[a`! 4),'! p%FE>A<=EKA8C!
              +E>FID8KAFEq!_WS`e![`Xad_Sf[a`!iZ[UZ5!

              ,),)    <Wd[hWe! SUfgS^! ad! bafW`f[S^! WUa`a_[U! hS^gW! Xda_! `af! TW[`Y!
                      YW`WdS^^k! ]`ai`! fa'! S`V! `af! ShS[^ST^W! fZdagYZ! bdabWd! _WS`e'! Tk!
                      afZWd!bWdea`e!iZa!Uag^V!aTfS[`!WUa`a_[U!hS^gW!Xda_!dWUW[bf!ad!geW!
                      aX!egUZ![`Xad_Sf[a`6!


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                                                                                                EXHIBIT C
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             ,)-)    Ae! fZW! egT\WUf! aX! dWSea`ST^W! WXXadfe! Tk! [fe! ai`Wd! fa! _S[`fS[`! [fe!
                     Ua`X[VW`f[S^[fk!ad!eWUdWUk6!ad!
             !!
             ,).)    Ae! Tk! [fe! `SfgdW! Ua`X[VW`f[S^'! fdSVW! eWUdWfe! ad! afZWdi[eW! bdabd[WfSdk! fa! [fe!
                     ai`Wd)!!

             ;a`X[VW`f[S^![`Xad_Sf[a`![`U^gVWe!fZW!fWd_e!S`V!Ua`V[f[a`e!aX!fZ[e!8YdWW_W`f'!eaXfiSdW!
             eagdUW! S`V! aT\WUf! UaVW'! [`hW`f[a`e'! ]`ai(Zai'! VSfS'! Xad_g^Se'! bSffWd`e'! Ua_b[^Sf[a`e'!
             bdaYdS_e'! VWh[UWe'! _WfZaVe'! fWUZ`[cgWe'! VdSi[`Ye'! Ua`X[YgdSf[a`e'! b^S`e'! bdaUWeeWe'!
             X[`S`U[S^! S`V! Tge[`Wee! b^S`e'! `S_We! aX! SUfgS^! ad! bafW`f[S^! U^[W`fe! ad! egbb^[Wde'! <SfS!
             ;W`fWd! Ua`X[YgdSf[a`'! S`V! bdabd[WfSdk! fWUZ`a^aYk! VWhW^abWV! ad! UdWSfWV! Tk! @aef'!
             [`U^gV[`Y!@aefse!abWdSf[a`e'!VWe[Y`'!Ua`fW`f'!ZSdViSdW!VWe[Y`e'!S^Yad[fZ_e'!eaXfiSdW!%[`!
             eagdUW! S`V! aT\WUf! Xad_e&'! geWd! [`fWdXSUW! VWe[Y`e'! SdUZ[fWUfgdW'! U^See! ^[TdSd[We'! S`V!
             VaUg_W`fSf[a`! %TafZ! bd[`fWV! S`V! W^WUfda`[U&'! ]`ai(Zai'! fdSVW! eWUdWfe! S`V! S`k! dW^SfWV!
             [`fW^^WUfgS^! bdabWdfk! d[YZfe! fZdagYZagf! fZW! iad^V'! S`V! S`k! VWd[hSf[hW! iad]e'!
             [_bdahW_W`fe'!W`ZS`UW_W`fe!ad!WjfW`e[a`e!fZWdWaX)!!

      -)     (P;DMKAGFK! >JGE!&GF>A<=FLA8DALQ! 19DA?8LAGFK)!Dafi[fZefS`V[`Y!fZW! Ua`X[VW`f[S^[fk!
             aT^[YSf[a`e! dWcg[dWV! ZWdW[`'! `W[fZWd! FSdfkse! Ua`X[VW`f[S^[fk! aT^[YSf[a`e! ZWdWg`VWd!
             eZS^^!Sbb^k!fa![`Xad_Sf[a`!iZ[UZ5!

             -),)    Ae! S^dWSVk! ]`ai`! fa! fZW! dWUW[h[`Y! FSdfk! %afZWd! fZS`! fZW! fWd_e! aX!
                     fZ[e!8YdWW_W`f&6!ad!

             -)-)    Ae! dWcg[dWV! fa! TW! V[eU^aeWV! Tk! BSi'! bdah[VWV'! ZaiWhWd'! [X! W[fZWd!
                     FSdfk! [e! Sf! S`k! f[_W! dWcgWefWV! ad! dWcg[dWV! fa! V[eU^aeW! S`k!
                     [`Xad_Sf[a`! egbb^[WV! fa! [f! [`! Ua``WUf[a`! i[fZ! fZ[e!8YdWW_W`f'! fZW!
                     FSdfk!SYdWWe!fa!bdah[VW!fZW!afZWd!FSdfk!i[fZ!bda_bf!`af[UW!aX!egUZ!
                     dWcgWef)!!

-)    C[eUW^^S`Wage!Fdah[e[a`e)!!

      -),)   $E=F<E=FL)! Da! bdah[e[a`! aX! fZW! 8YdWW_W`f! _Sk! TW! S_W`VWV'! egbWdeWVWV'! ad!
             afZWdi[eW!_aV[X[WV!g`^Wee!fZW!S_W`V_W`f!ad!_aV[X[USf[a`![e!SYdWWV!fa![`!id[f[`Y!
             S`V!e[Y`WV!Tk!fZW!FSdf[We)!!

      -)-)   3=DG;8LAGF!G>!&DA=FL!(IMAHE=FL!GJ!&DA=FL!4H8;=)!AX![f![e!`WUWeeSdk!ad!VWe[dST^W!Xad!
             @aefse!WXX[U[W`f!geW!aX!fZW!<SfS!;W`fWd!fa!dW^aUSfW!fZW!;^[W`f!=cg[b_W`f!ad!;^[W`f!
             IbSUW!fa!S`afZWd!SdWS!aX!fZW!<SfS!;W`fWd'!fZW!FSdf[We!eZS^^!UaabWdSfW![`!YaaV!XS[fZ!
             fa! XSU[^[fSfW! egUZ! dW^aUSf[a`)! @aef! eZS^^! TW! ea^W^k! ^[ST^W! Xad! fZW! Uaefe! [`UgddWV! [`!
             Ua``WUf[a`! i[fZ! S`k! egUZ! dW^aUSf[a`)! ;^[W`f! eZS^^! TW! ea^W^k! ^[ST^W! Xad! Uaefe!


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                                                                                                   EXHIBIT C
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        [`UgddWV![`!Ua``WUf[a`!i[fZ!dW^aUSf[a`!_SVW!Tk!@aef!Sf!fZW!dWcgWef!aX!;^[W`f)!@aef!
        eZS^^!geW!Ua__WdU[S^^k!dWSea`ST^W!WXXadfe!fa!_[`[_[lW!S`V!Sha[V!S`k![`fWddgbf[a`!
        [`!IWdh[UWe!Vgd[`Y!egUZ!dW^aUSf[a`)!!

 -).)   )GJ;=!/8B=MJ=)!A`!`a!WhW`f!eZS^^!@aef!TW!dWeba`e[T^W!ad!^[ST^W!Xad!S`k!XS[^gdW!ad!
        VW^Sk! [`! fZW! bWdXad_S`UW! aX! [fe! aT^[YSf[a`e! Sd[e[`Y! agf! aX! fZW!8YdWW_W`f! USgeWV!
        Tk'!V[dWUf^k!ad![`V[dWUf^k'!XadUWe!TWka`V![fe!Ua`fda^'![`U^gV[`Y'!i[fZagf!^[_[fSf[a`'!
        efd[]We'! iad]! efabbSYWe'! SUU[VW`fe'! SUfe! aX! iSd! ad! fWddad[e_'! U[h[^! ad! _[^[fSdk!
        V[efgdTS`UWe'! `gU^WSd! ad! `SfgdS^! USfSefdabZWe! ad! SUfe! aX! ?aV'! Wb[VW_[Ue'!
        bS`VW_[Ue! S`V! dW^SfWV! ZWS^fZ! V[eSefWde'! S`V! [`fWddgbf[a`e'! ^aee'! ^aUS^'! efSfW'! ad!
        `Sf[a`S^! YahWd`_W`f! SUfe'! VW^Ske! ad! Ua`X^[Ufe! i[fZ! eZ[bbWde'! ad! _S^Xg`Uf[a`e! aX!
        gf[^[f[We'!Ua__g`[USf[a`e'!ad!Ua_bgfWd!%eaXfiSdW!S`V!ZSdViSdW&!eWdh[UWe)!!

 -)/)   0GLA;=)! 8^^! `af[UWe'! dWcgWefe'! Ua`eW`fe'! U^S[_e'! VW_S`Ve'! iS[hWde'! S`V! afZWd!
        Ua__g`[USf[a`e!ZWdWg`VWd!eZS^^!TW![`!id[f[`Y!S`V!SVVdWeeWV!fa!W[fZWd!FSdfk!Se!eWf!
        XadfZ![`!fZ[e!IWUf[a`)! !8^^!`af[UWe!eZS^^!TW!VW^[hWdWV!Tk![`fWd`Sf[a`S^^k!dWUaY`[lWV!
        ahWd`[YZf! Uagd[Wd! %i[fZ! S^^! XWWe! bdWbS[V&! ad! W^WUfda`[U! _S[^! [X! SVWcgSfW!
        Ua`X[d_Sf[a`!aX!dWUW[bf![e!bdah[VWV)! !=jUWbf!Se!afZWdi[eW!bdah[VWV![`!fZ[e!CSefWd!
        8YdWW_W`f'! S! `af[UW! [e! WXXWUf[hW! a`^k! [X! %[&! fZW! dWUW[h[`Y! FSdfk! ZSe! dWUW[hWV! fZW!
        `af[UW!S`V!%[[&!fZW!FSdfk!Y[h[`Y!fZW!`af[UW!ZSe!Ua_b^[WV!i[fZ!fZW!dWcg[dW_W`fe!aX!
        fZ[e!IWUf[a`)!Daf[UW![e!VWW_WV!dWUW[hWV5![`!fZW!USeW!aX![`fWd`Sf[a`S^^k!dWUaY`[lWV!
        ahWd`[YZf!Uagd[Wd'!fZW!VSfW!S`V!f[_W!fZW!Uagd[Wd!Ua`X[d_e!VW^[hWdk6!ad![`!fZW!USeW!
        aX!W^WUfda`[U!_S[^'!fZW!VSfW!S`V!f[_W!fZW!dWU[b[W`fse!eWdhWd!dWUW[hWe!fZW!W^WUfda`[U!
        _S[^)!IgUZ!Ua__g`[USf[a`e!_gef!TW!eW`f!fa!fZW!dWebWUf[hW!bSdf[We!Sf!fZW!Xa^^ai[`Y!
        SVVdWeeWe! %ad! Sf! egUZ! afZWd! SVVdWee! Xad! S! bSdfk! Se! eZS^^! TW! ebWU[X[WV! [`! S! `af[UW!
        Y[hW`![`!SUUadVS`UW!i[fZ!fZ[e!IWUf[a`&5!




        9AJ0AL=!BB;5                           ,-+,!DM!,,-!8hW!Ig[fW!,,-!
                                               C=<B=N'!>B!
                                               =_S[^5!S`VdWS7T[f0[hW)Ua_!*!
                                               daTWdf7T[f0[hW)Ua_!!
                                               8ffW`f[a`5!8`VdWS!I[^We!*!HaTWdf!
                                               ;a^^Sla!


        9==G9!BB;5                             -,-!DM!/fZ!8hW!
                                               @S^^S`VS^W!9WSUZ'!>B!..++4!
                                               =_S[^5!dSV_[d)lSd[bah7Y_S[^)Ua_!
                                               8ffW`f[a`5!HSV_[d!OSd[bah!



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 -)0)   0GF#&AJ;MEN=FLAGF)!;^[W`f!SYdWWe!`af!fa!Ua`fSUf!bWdea`e!ad!W`f[f[We![`fdaVgUWV!Tk!
        @aef! i[fZagf! fZW! bd[ad! id[ffW`! Ua`eW`f! aX! @aef)! >gdfZWd_adW'! ;^[W`f! SYdWWe! fZSf!
        ;^[W`f!eZS^^!`af!gf[^[lW!Ua`X[VW`f[S^![`Xad_Sf[a`!`ad!Ua`eg__SfW!S`k!fdS`eSUf[a`'!
        Xad!XWWe!ad!afZWdi[eW'!i[fZ!S`k!W`f[fk!%[`U^gV[`Y!egUZ!W`f[fk$e!SXX[^[SfWe!S`V!dW^SfWV!
        W`f[f[We&! [`fdaVgUWV! Tk! @aef! i[fZagf! bdah[V[`Y! Ua_bW`eSf[a`! fa! @aef! [`! S`!
        S_ag`f! VWW_WV! SUUWbfST^W! fa! @aef! Sf! @aefre! ea^W! V[eUdWf[a`)! JZW! bdah[e[a`e! aX!
        fZ[e! IgTeWUf[a`! eZS^^! Sbb^k! Vgd[`Y! fZW! fWd_! aX! fZ[e! 8YdWW_W`f! S`V! Xad! fia! %-&!
        US^W`VSd!kWSde!fZWdWSXfWd)!

 -)1)   0GF#4GDA;AL8LAGF)! )>;472! =30! =0;6! 81! =34<! '2;00607=$! ,7/! 18;! =@8! "&#! .,507/,;!
        A0,;<! =30;0,1=0;$! (5407=! <3,55! 78=! 47/>.0! ,7A! 06958A00! 8;! .87=;,.=8;! 81! *8<=! =8!
        50,?0! *8<=D<! 06958A! 8;! .87=;,.=>,5! ;05,=487<349! 8;! 34;0! ,7A! <>.3! 06958A00! 8;!
        .87=;,.=8;!@4=38>=!*8<=D<!9;48;!@;4==07!.87<07=%!+8=@4=3<=,7/472$!,7!06958A00!8;!
        .87=;,.=8;! <3,55! 78=! -0! /0060/! =8! 3,?0! -007! <854.4=0/! 8;! ,<! ,! ;0<>5=! 34;0/! 18;!
        06958A607=! 8;! .87=;,.=! <8505A! ,<! ,! ;0<>5=! 81! ,! 2070;,5! 9>-54.! ,/?0;=4<0607=! 8;!
        8=30;!<>.3!2070;,5!<854.4=,=487!81!06958A607=)!

 -)2)   0GF#'AKH8J8?=E=FL)! =SUZ! FSdfk! SYdWWe! fa! fS]W! `a! SUf[a`! iZ[UZ! [e! [`fW`VWV'! ad!
        iag^V!dWSea`ST^k!TW!WjbWUfWV'!fa!ZSd_!fZW!afZWd!FSdfk!ad![fe!dWbgfSf[a`!ad!iZ[UZ!
        iag^V!dWSea`ST^k!TW!WjbWUfWV!fa!^WSV!fa!g`iS`fWV!ad!g`XShadST^W!bgT^[U[fk!fa!fZW!
        afZWd! FSdfk)! IgUZ! SUf[a`e! [`U^gVW'! i[fZagf! ^[_[fSf[a`'! V[ebSdSY[`Y! dW_Sd]e'!
        Ua__W`fe!ad!efSfW_W`fe!fZSf![_bgY`!fZW!UZSdSUfWd'!Za`Wefk'![`fWYd[fk'!_adS^[fk!ad!
        Tge[`Wee!SUg_W`!ad!ST[^[f[We![`!Ua``WUf[a`!i[fZ!S`k!SebWUf!aX!fZW!abWdSf[a`!aX!fZW!
        afZWd!FSdfk)!

        JZW!bdah[e[a`e!aX!fZ[e!IWUf[a`!Va!`af!WjfW`V!fa!efSfW_W`fe! _SVW!Tk!W[fZWd!FSdfk!
        iZW`!Ua_bW^^WV!Tk!S`!SgfZad[fk!aX!^Si6!HJGNA<=<"!@GO=N=J'!fZSf!fZW!FSdfk!_S][`Y!
        egUZ!efSfW_W`f![`Xad_e!fZW!afZWd!FSdfk!%g`^Wee!Wjb^[U[f^k!adVWdWV!`af!fa!Va!ea!Tk!
        egUZ!^WYS^!SgfZad[fk&)!

 -)3)   $KKA?FE=FL)!DW[fZWd!fZW!8YdWW_W`f!`ad!S`k!aX!fZW!d[YZfe'![`fWdWefe'!ad!aT^[YSf[a`e!
        ZWdWg`VWd! _Sk! TW! See[Y`WV! Tk! W[fZWd! FSdfk! %iZWfZWd! Tk! abWdSf[a`! aX! ^Si! ad!
        afZWdi[eW&!i[fZagf!fZW!bd[ad!id[ffW`!Ua`eW`f!aX!fZW!`a`(See[Y`[`Y!FSdfk)!IgT\WUf!fa!
        fZW! bdWUWV[`Y! eW`fW`UW'! @aef! _Sk! See[Y`! fZW!8YdWW_W`f! fa! [fe! SXX[^[SfWe'! bSdW`f'!
        egTe[V[Sd[We'! ad! egUUWeeade([`([`fWdWef! i[fZagf! ;^[W`fse! Ua`eW`f!h[S! id[ffW`! `af[UW!
        fa!;^[W`f)!IgT\WUf!fa!fZW!XadWYa[`Y'!fZW!8YdWW_W`f!eZS^^!TW!T[`V[`Y!gba`!S`V![`gdW!
        fa!fZW!TW`WX[f!aX!S`V!TW!W`XadUWST^W!Tk!fZW!FSdf[We!S`V!fZW[d!dWebWUf[hW!egUUWeeade!
        S`V!See[Y`e)!!

 -)4)   (FLAJ=! $?J==E=FL)! K`^Wee! ebWU[X[US^^k! bdah[VWV! ZWdW[`'! fZ[e!8YdWW_W`f! Ua`fS[`e!
        S^^! aX! fZW! g`VWdefS`V[`Ye! S`V! dWbdWeW`fSf[a`e! TWfiWW`! fZW! FSdf[We! dW^Sf[`Y! fa! fZW!

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         egT\WUf! _SffWd! ZWdWaX! S`V! egbWdeWVW! S^^! bd[ad! S`V! Ua`fW_badS`Wage!
         g`VWdefS`V[`Ye'! V[eUgee[a`e'! SYdWW_W`fe'! dWbdWeW`fSf[a`e'! S`V! iSddS`f[We'! TafZ!
         id[ffW`!S`V!adS^'!dWYSdV[`Y!egUZ!egT\WUf!_SffWd)!!

 -),+)   4=N=J89ADALQ)!AX!S`k!fWd_!ad!bdah[e[a`!aX!fZW!8YdWW_W`f![e!ZW^V![`hS^[V'![^^WYS^'!ad!
         g`W`XadUWST^W! [`! S`k! \gd[eV[Uf[a`'! egUZ! [`hS^[V[fk'! [^^WYS^[fk'! ad! g`W`XadUWST[^[fk!
         eZS^^! `af! SXXWUf! S`k! afZWd! fWd_! ad! bdah[e[a`! aX! fZW! 8YdWW_W`f! ad! [`hS^[VSfW! ad!
         dW`VWd!g`W`XadUWST^W!egUZ!fWd_!ad!bdah[e[a`![`!S`k!afZWd!\gd[eV[Uf[a`)!!

 -),,)   78AN=J)!Da!iS[hWd!Tk!W[fZWd!FSdfk!aX!S`k!TdWSUZ!Tk!fZW!afZWd!FSdfk!aX!S`k!fWd_!ad!
         bdah[e[a`!aX!fZW!8YdWW_W`f!fa!TW!bWdXad_WV!Tk!fZW!afZWd!FSdfk!eZS^^!TW!VWW_WV!S!
         iS[hWd!aX!S`k!e[_[^Sd!ad!V[ee[_[^Sd!fWd_!ad!bdah[e[a`!Sf!fZW!eS_W!ad!S`k!bd[ad!ad!
         egTeWcgW`f!f[_W'!`ad!eZS^^!fZW!XS[^gdW!aX!ad!VW^Sk!Tk!W[fZWd!FSdfk![`!WjWdU[e[`Y!S`k!
         d[YZf'! baiWd'! ad! bd[h[^WYW! g`VWd! fZW! 8YdWW_W`f! abWdSfW! Se! S! iS[hWd! fZWdWaX! fa!
         bdWU^gVW! S`k! afZWd! ad! XgdfZWd! WjWdU[eW! fZWdWaX! ad! fZW! WjWdU[eW! aX! S`k! afZWd! egUZ!
         d[YZf'!baiWd'!ad!bd[h[^WYW)!!

 -),-)   5@AJ<! 28JLQ! %=F=>A;A8JA=K)! JZWdW! eZS^^! TW! `a! fZ[dV(bSdfk! TW`WX[U[Sd[We! fa! fZ[e!
         8YdWW_W`f)!!

 -),.)   *GN=JFAF?!.8O)!JZW!8YdWW_W`f!S`V!S^^!dW^SfWV!VaUg_W`fe![`U^gV[`Y!S^^!WjZ[T[fe!
         SffSUZWV! ZWdWfa'! S`V! S^^! _SffWde! Sd[e[`Y! agf! aX! ad! dW^Sf[`Y! fa! fZ[e! 8YdWW_W`f'!
         iZWfZWd! eag`V[`Y! [`! Ua`fdSUf'! fadf'! efSfgfW'! ad! afZWdi[eW'! SdW! YahWd`WV! Tk'! S`V!
         Ua`efdgWV! [`! SUUadVS`UW! i[fZ! fZW! ^Sie! aX! fZW! IfSfW! aX! >^ad[VS! %[`U^gV[`Y! [fe!
         efSfgfWe! aX! ^[_[fSf[a`e! S`V! ! UZa[UW! aX! ^Si! efSfgfWe&'! i[fZagf! Y[h[`Y! WXXWUf! fa! fZW!
         Ua`X^[Uf! aX! ^Sie! bdah[e[a`e! fZWdWaX! fa! fZW! WjfW`f! egUZ! bd[`U[b^We! ad! dg^We! iag^V!
         dWcg[dW!ad!bWd_[f!fZW!Sbb^[USf[a`!aX!fZW!^Sie!aX!S`k!\gd[eV[Uf[a`!afZWd!fZS`!fZaeW!aX!
         fZW!IfSfW!aX!>^ad[VS)!!

 -),/)   $DL=JF8LAN=!'AKHML=!3=KGDMLAGF)!K`^Wee!fZW!FSdf[We!SYdWW! afZWdi[eW![`! id[f[`Y'![`!
         fZW! WhW`f! S! V[ebgfW! Sd[eWe! Xda_'! ad! dW^SfWV! fa'! fZW! fWd_e! ad! bWdXad_S`UW! aX! fZW!
         8YdWW_W`f'!fZW!FSdf[We!eZS^^!W`YSYW![`!V[dWUf!`WYaf[Sf[a`)!!

          A`! fZW! WhW`f! egUZ! `WYaf[Sf[a`e! XS[^! fa! S_[UST^k! dWea^hW! S`k! dW_S[`[`Y! V[ebgfW%e&'! fZW!
          FSdf[We! eZS^^! bdaUWWV! fa! T[`V[`Y! SdT[fdSf[a`! TWXadW! S! e[`Y^W! SdT[fdSfad! aX! fZW!8_Wd[US`!
          8dT[fdSf[a`!8eeaU[Sf[a`!%p888q&)!A`!fZW!WhW`f!fZW!FSdf[We!XS[^!fa!SYdWW!a`!fZW![VW`f[fk!aX!
          fZW!SdT[fdSfad'!fZW!SdT[fdSfad!eZS^^!TW!See[Y`WV!fa!fZW!FSdf[We!Tk!fZW!888)!!

          8`k! SdT[fdSf[a`! eZS^^! TW! Ua`VgUfWV! [`! SUUadVS`UW! i[fZ! fZW! 888se! ;a__WdU[S^!
          8dT[fdSf[a`!Hg^We!S`V!CWV[Sf[a`!FdaUWVgdWe)!




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          K`^Wee! afZWdi[eW! SYdWWV! fa! Tk! fZW! FSdf[We! [`! id[f[`Y'! fZW! eWSf! aX! SdT[fdSf[a`! eZS^^! TW!
          C[S_['!>^ad[VS)!

          JZW!FSdf[We!eZS^^!TWSd!fZW[d!ai`!V[ebgfW(dW^SfWV!WjbW`eWe)!

 -),0)   -MJQ!5JA8D!78AN=J)!Ja!fZW!Xg^^!WjfW`f!bWd_[ffWV!Tk!^Si'!fZW!FSdf[We!ZWdWTk!WjbdWee^k!
         iS[hW! S`k! S`V! S^^! d[YZf! fa! S! fd[S^! Tk! \gdk! a`! fZW! [eegW! fa! W`XadUW! S`k! fWd_! ad!
         Ua`V[f[a`!aX!fZW!8YdWW_W`f)!

 -),1)   &D8KK! $;LAGF! 78AN=J)!8`k! bdaUWWV[`Ye! fa! dWea^hW! ad! ^[f[YSfW! S`k! V[ebgfW! Sd[e[`Y!
         Xda_!fZW!bdah[e[a`e!aX!fZ[e!8YdWW_W`f!i[^^!TW!Ua`VgUfWV!ea^W^k!a`!S`![`V[h[VgS^!
         TSe[e)!DW[fZWd!FSdfk!i[^^!eWW]!fa!ZShW!S`k!V[ebgfW!ZWSdV!Se!S!U^See!SUf[a`'!bd[hSfW!
         Sffad`Wk!YW`WdS^! SUf[a`'!ad! [`!S`k! afZWd! bdaUWWV[`Y![`!iZ[UZ!W[fZWd!bSdfk! SUfe! ad!
         bdabaeWe!fa!SUf![`!S!dWbdWeW`fSf[hW!USbSU[fk)!

 -),2)   &GFKLJM;LAGF)!JZW!dWU[fS^e!S`V!bdWS_T^W!SdW![`UadbadSfWV!ZWdW[`!Se![X!eWf!XadfZ!Sf!
         ^W`YfZ)!

 -),3)   &GMFL=JH8JLK)!JZW! FSdf[We! _Sk! WjWUgfW! fZ[e!8YdWW_W`f! [`! _g^f[b^W! Uag`fWdbSdfe'!
         WSUZ!aX!iZ[UZ!eZS^^!TW!VWW_WV!S`!ad[Y[`S^'!S`V!S^^!aX!iZ[UZ!fS]W`!faYWfZWd!eZS^^!
         Ua`ef[fgfW! a`W! S`V! fZW! eS_W! [`efdg_W`f)! <W^[hWdk! aX! S`! WjWUgfWV! Uag`fWdbSdf! aX!
         fZ[e!8YdWW_W`f!h[S!XSUe[_[^W'!W^WUfda`[U!_S[^![`!badfST^W!VaUg_W`f!Xad_Sf!%)bVX&'!
         ad! Tk! S`k! afZWd! W^WUfda`[U! _WS`e! eZS^^! ZShW! fZW! eS_W! WXXWUf! Se! VW^[hWdk! aX! S`!
         WjWUgfWV!ad[Y[`S^!aX!fZ[e!8YdWW_W`f)!



                                      PI[Y`SfgdW!FSYW!>a^^aieQ!!




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;AqN<mA3HIqN84G4C6#qdVRqDOadYRbqWOfRqRgRPedRQqdVYbq9_bdY]Uq-UaRR[R]dqObq_S5TPdYfRq2OdR'q

KVRq0_\`O^h,q MEn;@4q8CHL;A7q=>1q



lo+$%%%%%%%%%%j
     #(%&)*!"('$++(
       DaY]dqBO[Rq



             JYU]OdeaRq

           $*,)'(+!&)'!
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         "q )%*&,&+'##
lo,q &?pXc               $"&-"(.
              D(kY]dqBO[Rq
         "




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                                           '7*+$+4!#!
                                     %,+'.4!'15+0-'.4!



JZW!Xa^^ai[`Y![fW_e!eZS^^!Ua`ef[fgfW!;^[W`f!=cg[b_W`f5!



"#$               !&,%+'*-')(
&'%%              )-,+!-&(!*162.13!)36213/4"!&%%!60$5



JZW!;a__W`UW_W`f!<SfW!eZS^^!TW!8bd[^!-+--)!




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      $-0,)*.!',)!"#%




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0<5>487; 1;?69<=6 30, $2/'.**."#&#-"'#01".&1'"%)*&%+(2')$-
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            the hosting deposit is $343,421.96 ($322,545.46 and $197,100.00 for the Oklahoma and Carolina
            locations respectively less outstanding electricity bill for $176,223.5), which Mr. Eliseev is entitled
            to.

                    Under Florida law, the elements of a breach of contract claim are j'-( a valid contract; (2)
            a material breach; and (3) TQ\QWUb+k Deauville Hotel Mgmt., LLC v. Ward, 219 So. 3d 949 (Fla.
            Dist. Ct. App. 2017).

                  The Agreement is a valid, binding, and enforceable contract. Mr. Eliseev paid the
            $343,421.96 refundable deposit in order to allow your Company to pay for electrical costs to power
            the Machines. Your ;^\_Q]hlb failure to return this refundable deposit breaches the Agreement.

                     CLAIM #2 HOSTING FEE

                    Under Clause 1.8 of the Agreement, your Company is obliged to provide Services to Mr.
            =[YbUUelb Machines at a minimum of 90% of the time 'jMinimum Service Levelk(+ The
            contractually agreed upon remedy for failure to meet the Minimum Service Level is for Mr. Eliseev
            to receive a credit 'jService Level Creditk( equal and limited to a discount in proportion to the
            monthly rate for the amount of downtime beyond the Minimum Service Level.

                     The Agreement is a valid, binding, and enforceable contract. The Agreement became
            effective in October 2021, and you have not provided Mr. Eliseev with the full amount of Services
            required by the Agreement. Under the Agreement, your Company was obligated to provide
            Services at the Minimum Service Level, or if the Minimum Service Level was not met, your
            Company was required to give Mr. Eliseev Service Level Credits. Your Company failed to deliver
            the full amount of power necessary for operation of the Machines thus, utterly failed to perform at
            the Minimum Service Level. Your Company did not conduct its operations as a prudent Services
            provider, despite its contractual obligation to do so. Your Company also failed to provide Mr.
            Eliseev any of the Service Level Credits he is owed per the Agreement. After almost a year and
            a half of failing to provide the full amount of Services, as of April 19, 2023 you owe Mr. Eliseev
            $184,680 in Service Level Credits. With each passing day the amount of Service Level Credits
            owed to Mr. Eliseev increases by $1,620. Accordingly, your Company breached the Agreement
            by failing to provide Mr. Eliseev with his contractually owed Service Level Credits.

                     CLAIM #3 ASIC MACHINES

                    Your Company must return the Machines that you are unlawfully withholding from Mr.
            Eliseev. Your contention that the Machines cannot be returned because they have become
            collateral to the landlord who leases the hosting facility is unfounded. Mr. Eliseev has promptly
            paid all costs invoiced to him regarding the Machines.

                   Florida Statute section 713.31(2)(a) states that, jOQP]h lien asserted under this part in
            which the lienor has . . . willfully included a claim for work not performed upon or materials not
            furnished for the property upon which he or she seeks to impress such lien or in which the lienor
            has compiled his or her claim with such willful and gross negligence as to amount to a willful
            exaggeration shall be deemed a fraudulent [YU]+k

                    The [Q]T[^aTlb lien on the Machines is a fraudulent lien. Your Company did not provide
            Mr. Eliseev with the full amount of Services required by the Agreement. Your Company utterly
            failed to perform as it promised by failing to deliver power to the Machines required by the
            Agreement. The claim upon which you base your lien is unfounded as your Company has



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            breached the Agreement despite Mr. Eliseev delivering the Machines and paying the refundable
            deposit with the expectation that the Machines would receive the promised Services. Mr. Eliseev
            has fulfilled all of his obligations under the Agreement. Therefore, it is a fraudulent lien, and all
            Machines must be returned to Mr. Eliseev.

                     CLAIM #4 REIMBURSEMENT

                    Your company must reimburse Mr. Eliseev $875,000 for purchasing your containers, plus
            any costs required in disposing of the containers. Mr. Eliseev had to buy specifically designed
            containers from your Company because these containers are custom-built, they cannot be used
            with other power-generating facilities or other hosting providers. The S^]cQY]Uabl key purpose is
            to store the Machines at your facilities. Because of your breach of the Agreement, the Machines
            inside the containers are facing significant depreciation due to weather conditions absent of power
            supply. Additionally, your Company had an obligation to monitor the containers daily and to
            contact Mr. Eliseev within three business days if the containers were not functioning properly.
            Lack of power at the Carolina and Oklahoma sites exposed the Machines to frost and moisture,
            which may result in prolonged damage to the Machines.

                      If you fail to reimburse Mr. Eliseev for the containers, he is within his right to sue for
            consequential damages under Florida law. Your S^\_Q]hlb actions are clear examples of gross
            negligence, more than enough to find any damage-limiting provision in the Agreement
            unconscionable. Florida Statute section 672.715(2)(a) provides that, jS^]bU`dU]cYQ[ damages
            resulting from the bU[[Ualb breach include any loss resulting from general or particular
            requirements and needs of which the seller at the time of contracting had reason to know . . . k+
            Your Company should have known that due to the containers being specifically designed for your
            facility, any breach would result in the containers becoming useless, as Mr. Eliseev S^d[T]lc use
            them at other facilities. Additionally, Mr. =[YbUUelb damages can be proven with clear, definite, and
            certain evidence, and the amount of damages can be reasonably calculated given that the
            purchase price of the containers is directly stated under Clause 2(a) of the Sale and Purchase
            Agreement.

                   Alternatively, Mr. Eliseev is offering your Company the chance to repurchase the
            containers for the $675,000 purchase price.

                     CONCLUSION

                    You must immediately provide Mr. Eliseev with the relief requested in this letter. If you fail
            to comply with this demand by April 27, 2023, Mr. Eliseev reserves his legal and equitable rights,
            including bringing a lawsuit against your Company and its affiliated entities for breach of contract
            and other claims.



                                                                         Sincerely,



                                                                         Filipp Petkevitch
                                                                         Attorney
                                                                         Buzko Krasnov
                                                                         filipp.petkevitch@buzko.legal



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                EXHIBIT D




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            condition or the exclusion of the owner's rights. Hawkins v. City of Greenville, 358 S.C. 280, 594
            S.E.2d 557 (Ct. App. 2004)

                   You must immediately return the ASIC machines to Mr. Eliseev. If you fail to comply with
            this demand by April 27, 2023, Mr. Eliseev reserves his legal and equitable rights, including
            bringing a lawsuit against you for conversion and other claims.




                                                                       Sincerely,



                                                                       Filipp Petkevitch
                                                                       Attorney
                                                                       Buzko Krasnov
                                                                       (718) 557-9582
                                                                       filipp.petkevitch@buzko.legal




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                                                                     Reply to: Coral Gables Office
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April 27, 2023

Via E-Mail

Filipp Petkevitch
Buzko Krasnov
228 Park Ave S
New York, New York 10003
Filipp.petkevitch@buzko.legal

        Re:      Response to Letter Regarding Hosting Agreement

Dear Mr. Petkevitch:

Our law firm represents Uptime Hosting, DD; 'lM`dY]U @_cdY^Wm( Y^ S_^^USdY_^ gYdX dXU ]QddUbc
set forth in your letter dated April 20, 2023. Our law firm also represents affiliated entities Uptime
8b]_bi) DD; 'lM`dY]U 8b]_bim( Q^T 9Yd1YfU DD; 'l9Yd1YfUm(+ This letter will respond to each
of the demands made in turn. In short, Uptime Hosting is amenable to collaborating with your
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clients are able to do so. Many of the matters complained of are outside the control of Uptime
Hosting, as explained below.

To provide some context, your client provided hosting deposits for a total of five containers which
are split amongst two sites: three containers in Pryor, Oklahoma and two in Gaffney, South
Carolina. The Gaffney site) gXYSX Yc _g^UT Ri dXU ?QVV^Ui 9_QbT _V HeR\YS O_b[c 'dXU l9_QbTm()
is or was leased to Litchain Corp. The site is currently under lock and key due to a lawsuit not
involving Uptime Hosting or any of its affiliates. BEEQB's miners were running on this site prior
to the lawsuit and they have several hundred miners sitting there, unable to access.

The lawsuit is brought by Blockquarry Corp., which as we understand was the largest client on the
site. Enclosed you will find a declaration related to the legal action currently pending related to
the Gaffney site that describes the operative facts giving rise to that lawsuit. The declaration states
how the Board stopped electrical service in January 2023, due to no fault of our clients. In fact, it
seems from the declaration that the party at fault for the termination of electrical service was
Litchain. As you can imagine, our clients are likewise suffering as a result of this problem.

At this time, no one can access the site for another 60-90 days. Our clients have submitted a request
to the Board in order to retrieve hardware, which request the Board unfortunately denied.




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Response to BEEQB Demand Letter
April 27, 2023
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#
Claim #1 Refundable Deposit

There is no dispute among our clients that the Hosting Agreement and Hardware Agreement are
valid, enforceable contracts. However, against the backdrop of our narrative above and citation to
the respective contractual force majeure clauses, Uptime Hosting and Uptime Armory respectfully
disagree that any breach of contract has occurred. The event of force majeure excuses performance
for the duration of that event, as it is completely not within the reasonable control of our clients.
Florida courts routinely uphold force majeure clauses in contracts to excuse performance for the
duration of the force majeure event. See, e.g., Home Devco/Tivoli Isles Ltd. Liab. Co. v. Silver, 26
So. 3d 718, 722 n.3 (Fla. 4th DCA 2010) (citing 1C% ,?7 /3@7A '?% E% 1C3C7 (7@FC ?8 )>EC<%
Regulation, 371 So. 2d 178, 180 (Fla. 3d DCA 1979)). Even if this clause were not in the
contractkwhich it iskthe doctrine of impossibility of performance would lead to the same result.

Having said that, Uptime Hosting is willing to reimburse your client for the hosting deposit as it
relates to the Gaffney site as soon as Uptime Hosting is able to return to the site and engage a
replacement client.

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electrical bill and respectfully disagree they must reimburse your client. Again, Uptime Hosting is
willing to reimburse your client for the hosting deposit in Oklahoma once it engages a replacement
client.

Claim #2 Hosting Fee

We reiterate the force majeure clause here to the extent it applies to any claims raised by your
client that the machines did not reach Minimum Service Level.

Claim #3 Asic Machines

Again, we reiterate the force majeure clause. Our clients actively sought to mitigate damages and
obtain access to the Gaffney site to retrieve equipment. The Board, which is a municipal
governmental entity, denied access. Our clients are equally without any remedy unless and until
the Board allows access to the premises.

We respectfully disagree with the assertion that any lien on the hardware is a fraudulent lien
pursuant to Section 713.31(2)(a), Florida Statutes. As you know, the Gaffney site is in South
Carolina, and South Carolina law would govern the imposition of any lien in the real property in
its state. That said, we understand that the Board, a governmental entity, is the party restricting
access. We have attempted to negotiate entry, and in addition, a lawsuit remains pending against
the Board and Litchain. Our clients have every intent to retub^ i_eb S\YU^dnc ]Y^Ubc Red dXU V_bSU
majeure situation is not allowing them to do so at this time.

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clients to be in default and have caused a difficult situation with the landlord. Mr. Robert Collazo,


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April 27, 2023
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CEO of our clients, had a face-to-face meeting with your client in which he emphasized all the
different scenarios that could take place if your client chose to default on payment. Your client
mentioned it would not be paying their outstanding power bills in Oklahoma due to the issues in
Gaffney. One site has nothing to do with the other. To the extent your assertion of a fraudulent lien
relates to the hardware in Oklahoma, that issue would be governed under Oklahoma law. Our
clients are actively working to engage a new client to replace i_eb S\YU^dnc power capacity so our
clients could remove the equipment. Once a new client signs, BEEQB's equipment could be
removed almost immediately.

Claim #4 Reimbursement

As far as the claim that these containers cannot be used on other sites, we likewise respectfully
disagree. Our clients have built more than 100 containers which have been deployed all over the
country on sites neither owned nor operated by our clients. In fact, there are several currently active
in Georgia, Texas, and Maine on sites neither owned nor operated by Uptime Hosting or Bit5ive.
These containers were custom made to fit the dimensions of new Bitcoin miners, but the racks
holding these miners can be retrofitted to house any size miner available in the market. The
containers allocated for BEEQB are in great condition as they were custom made. The only use
they have endured is from hosting the hardware.

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     1. Once the problem in Gaffney is resolved and the capacity is replaced with a new client,
        BEEQB will have all its miners returned. The existing deposits for the amount they have
        claimed will be refunded as well.

     2. Once the legal issues in Oklahoma are resolved with the landlord in the next few weeks,
        our clients will be able to ship their hardware to the location of their choice at no cost to
        BEEQB.

     3. Our clients have no problem repurchasing the five containers for the proposed amount of
        $675,000. However, Mr. Eliseev is aware that our companies are facing potential
        bankruptcy. Mr. Collazo has communicated this to the BEEQB team. Our clients would
        need to find a potential buyer for these containers in order to fulfill the request.

                                       Reservation of Rights

The foregoing is without prejudice and is not intended to be a complete recitation of all
applicable law and/or facts and shall not be deemed to constitute a waiver or relinquishment
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Response to BEEQB Demand Letter
April 27, 2023
Page 5
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Please confirm receipt of this letter. Should you have any questions or wish to discuss this in more
detail, feel free to call me on my direct line at (305) 370-3277.

                                      Sincerely,

                                      PERLMAN, BAJANDAS, YEVOLI & ALBRIGHT, P.L.




                                      Kristin Drecktrah Paz




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vjg!rqygt! dknnu!cv!vjg!Qmncjqoc!ukvg-!cpf!vjcv!hcev!ecwugf! kuuwgu!dgvyggp! vjg! ncpfnqtf! cpf! qwt!
enkgpvu-!cu!vjg!ncpfnqtf!fggogf!vjgo!kp!fghcwnv/!Cv!vjku!lwpevwtg-!vjg!ncpfnqtf!ku!fgocpfkpi!Dkv6kxg!
rnceg!hwpfu!kp!guetqy!vq!fgvgtokpg!qypgtujkr!qh!vjtgg!eqpvckpgtu!qp!kvu!ukvg/!!
!
Qwt!enkgpvu!cempqyngfig!vjcv!DGGSD!ku!gpvkvngf!vq!vjtgg!eqpvckpgtu-!cpf!vjg{!rtqrqug!rtqxkfkpi!
DGGSD!ykvj!vyq!dtcpf!pgy!eqpvckpgtu!vq!dg!fgnkxgtgf!cv!vjg!nqecvkqp!qh!{qwt!enkgpvu!ejqqukpi/!
Cu!hqt!vjg!vjktf-!qpg!eqpvckpgt!ku!eqokpi!dcem-!cpf!qwt!enkgpvu!yknn!cnuq!rtqxkfg!vjcv!vq!DGGSD/!!
!
Yg!jqrg!vjku!tguqnxgu!cp{!kuuwg!tgictfkpi!{qwt!enkgpvu!eqpvckpgtu!kp!vjg!Rt{qt-!Qmncjqoc!ukvg/!
Rngcug! eqphkto! vjku! cttcpigogpv! ku! ceegrvcdng! cpf! nkmgykug! eqphkto! vjg! nqecvkqp! yjgtg! vjg!
eqpvckpgtu!ujqwnf!dg!fgnkxgtgf/!
!
Ujqwnf!{qw!jcxg!cp{!swguvkqpu!qt!ykuj!vq!fkuewuu!vjku!kp!oqtg!fgvckn-!hggn!htgg!vq!ecnn!og!qp!o{!
fktgev!nkpg!cv!)416*!481.4388/!
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        311!Uqwvj!Cpftgyu!Cxgpwg-!Uwkvg!711-!Hqtv!Ncwfgtfcng-!Hnqtkfc!44412!!);65*!677.8228!
!            394!Ecvcnqpkc!Cxgpwg-!Uwkvg!311-!Eqtcn!Icdngu-!HN!44245!!)416*!488.1197!
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